Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 1 of 56 Page ID
                                 #:3330


  1   PETER J. ELIASBERG (SB# 189110)
      peliasberg@aclu-sc.org
  2   ACLU FOUNDATION OF
      SOUTHERN CALIFORNIA
  3   1313 W. 8th Street
      Los Angeles, CA 90017
  4   Phone: (213) 977-9500
      Fax: (213) 977-5299
  5
      JOHN S. DURRANT (SB# 217345)          MARGARET WINTER (pro hac vice)
  6   johndurrant@paulhastings.com          mwinter@npp-aclu.org
      ELIZABETH C. MUELLER                  ERIC BALABAN (pro hac vice)
  7   (SB# 278283)                          ebalaban@npp-aclu.org
      bethmueller@paulhastings.com          NATIONAL PRISON PROJECT OF
  8   PAUL HASTINGS LLP                     THE AMERICAN CIVIL LIBERTIES
      515 South Flower Street, 25th Floor   UNION FOUNDATION
  9   Los Angeles, CA 90071-2228            915 15th St., NW
      Phone: (213) 683-6000                 Washington, D.C. 20005
 10   Fax: (213) 627-0705                   Phone: (202) 393-4930
                                            Fax: (202) 393-4931
 11   Attorneys for Plaintiffs
      ALEX ROSAS and JONATHAN
 12   GOODWIN, on behalf of themselves
      and of those similarly situated
 13
                           UNITED STATES DISTRICT COURT
 14
                          CENTRAL DISTRICT OF CALIFORNIA
 15

 16
      ALEX ROSAS and JONATHAN               CASE NO. CV 12-00428 DDP
 17   GOODWIN on behalf of themselves
      and of those similarly situated,      PLAINTIFFS’ MEMORANDUM OF
 18                                         LAW IN SUPPORT OF MOTION
                     Plaintiffs,            FOR FINAL APPROVAL OF
 19                                         SETTLEMENT
            v.
 20
      JIM MCDONNELL, Sheriff of Los         [NOTICE OF MOTION AND
 21   Angeles County, in his official       MOTION AND DECLARATIONS OF
      capacity,                             JOHN DURRANT, PETER
 22                                         ELIASBERG, ESTHER LIM,
                     Defendant.             MARGARET WINTER, ELDON
 23                                         VAIL, AND CHRISTIAN LEBANO,
                                            FILED AND SERVED
 24                                         CONCURRENTLY HEREWITH]
 25
                                            Date:     April 20, 2015
 26                                         Time:     10:00 a.m.
 27                                         Honorable Dean D. Pregerson
                                            Ctrm: 3
 28

                                                       PLS.’ MEM. OF LAW ISO MOT. FOR
                                                      FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 2 of 56 Page ID
                                 #:3331


  1                                        TABLE OF CONTENTS
  2                                                                                                            Page
  3   I.     INTRODUCTION ........................................................................................... 1
  4   II.    SUMMARY OF THE CASE AND THE PLAINTIFFS’
             ALLEGATIONS ............................................................................................. 1
  5
      III.   SUMMARY OF THE PROPOSED SETTLEMENT ..................................... 4
  6
             A.       CLASS DEFINITION........................................................................... 4
  7
             B.       SUMMARY OF SETTLEMENT ......................................................... 4
  8
             C.       ATTORNEYS’ FEES AND COSTS .................................................... 8
  9
             D.       NOTICE TO THE CLASS ................................................................... 9
 10
      IV.    ARGUMENT .................................................................................................. 9
 11
             A.       THE LEGAL STANDARD APPLICABLE TO APPROVAL
 12                   OF CLASS ACTION SETTLEMENTS ............................................... 9
 13          B.       THE SETTLEMENT IS FAIR, REASONABLE, AND
                      ADEQUATE ....................................................................................... 11
 14
                      1.       The Settlement Was a Product of Arms’ Length
 15                            Negotiations Among Counsel for the Parties. .......................... 11
 16                   2.       The Opinions of An Expert and Counsel, the Expense of a
                               Trial, the Delay Inherent in a Possible Appeal, and the
 17                            Amount of Discovery Conducted Prior to the Reaching of
                               the Settlement Support the Reasonableness of the
 18                            Settlement. ................................................................................ 11
 19                   3.       There Has Been Only One Objection to the Settlement
                               From Members of the Plaintiff Class. ...................................... 14
 20
                      4.       The Attorneys’ Fees and Costs Requested By Plaintiffs’
 21                            Counsel as Part of the Settlement Are Fair and
                               Reasonable. ............................................................................... 15
 22
      V.     CONCLUSION ............................................................................................. 16
 23

 24

 25

 26
 27

 28

                                                                                  PLS.’ MEM. OF LAW ISO MOT. FOR
                                                              -i-                FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 3 of 56 Page ID
                                 #:3332


  1                                       TABLE OF AUTHORITIES
  2                                                                                                              Page(s)
  3   Cases
  4
      Blum v. Stenson,
  5      465 U.S. 886 (1984) ............................................................................................ 15
  6   Class Plaintiffs v. City of Seattle,
  7      955 F.2d 1268 (9th Cir. 1992) ............................................................................... 9

  8   In re FPI/Agretech Secs. Litig,
          105 F.3d 469 (9th Cir. 1997) ............................................................................... 15
  9

 10   Hanlon v. Chrysler Corp.,
        150 F.3d 1011 (9th Cir. 1998) ............................................................................. 14
 11
      Hensley v. Eckerhart,
 12
        461 U.S. 433 (1983) ............................................................................................ 15
 13
      Linney v. Cellular Alaska P’ship,
 14      151 F.3d 1234 (9th Cir. 1998) ............................................................................. 10
 15
      In re Mego Fin. Corp. Secs. Litig.,
 16       213 F.3d 454 (9th Cir. 2000) ............................................................................... 10
 17   Officers for Justice v. Civil Serv. Comm’n,
 18      688 F.2d 615 (9th Cir. 1982) ......................................................................... 10, 14
 19   Petrovic v. Amoco Oil Co.,
         200 F.3d 1140 (8th Cir. 1999) ....................................................................... 13, 14
 20
 21   Powers v. Eichen,
        229 F.3d 1249 (9th Cir. 2000) ............................................................................. 15
 22
      Prison Legal News v. Schwarzenegger,
 23
         608 F.3d 446 (9th Cir. 2010) ............................................................................... 16
 24
      Rodriguez v. West Publ’g Corp.,
 25     563 F.3d 948 (9th Cir. 2009) ......................................................................... 10, 11
 26
      Torrisi v. Tuscon Elec. Power Co.,
 27      8 F.3d 1370 (9th Cir. 1993) ................................................................................. 10
 28

                                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                              -ii-              FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 4 of 56 Page ID
                                 #:3333


  1                                         TABLE OF AUTHORITIES
  2                                               (continued)
                                                                                                                      Page(s)
  3   Statutes
  4
      42 U.S.C. § 1988....................................................................................................... 16
  5
      Class Action Fairness Act........................................................................................... 3
  6
      Prison Litigation Reform Act. ........................................................................ 8, 15, 16
  7

  8
      Other Authorities
  9   5 James Wm. Moore et al., Moore’s Federal Practice, § 23.164[1]
 10      (3d ed. 2015) ........................................................................................................ 10
 11   Fed. R. Civ. P. 23(b)(2) .............................................................................................. 4
 12   William B. Rubenstein, 4 Newberg on Class Actions §§ 13:44-45 (5th
 13     ed. 2014) .................................................................................................... 9, 10, 11
 14

 15

 16

 17

 18

 19

 20
 21

 22

 23

 24

 25

 26
 27

 28

                                                                                              PLS.’ MOTION FOR FINAL
                                                                 -iii-                      APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 5 of 56 Page ID
                                 #:3334


  1   I.       INTRODUCTION
  2            Plaintiffs Alex Rosas and Jonathan Goodwin (“Plaintiffs”) and the Plaintiff
  3   Class seek final court approval of the class action settlement (set forth in the
  4   proposed Settlement Agreement and Implementation Plan submitted herewith as
  5   Exhibits A and B), on the ground that the settlement is a product of arms’ length
  6   negotiation between the parties and is reasonable and fair to the parties and the
  7   members of the Plaintiff Class. Defendant Jim McDonnell (“Defendant”) does not
  8   oppose this motion.
  9   II.      SUMMARY OF THE CASE AND THE PLAINTIFFS’
 10            ALLEGATIONS

 11            More than three years ago, on January 18, 2012, Plaintiffs filed this lawsuit
 12   on behalf of a putative class of all current and future members of Men’s Central
 13   Jail, Twin Towers Correctional Facility, and the Inmate Reception Center
 14   (collectively, “the Jail Complex in downtown Los Angeles”). (Dkt. 1.) The
 15   Plaintiffs’ goal was to remedy “the pattern of excessive force and physical abuse in
 16   [the] jails.” (Id.) To this end, the Complaint and First Amended Complaint request
 17   a court order providing the following relief:
 18         a) “adequate policy on the use of force”;
 19         b) “adequate investigation of all use of force incidents and inmate-on-inmate
 20            violence, with investigations performed by personnel unconnected to the
 21            attack under investigation”;
 22         c) “appropriate training in use of force and prevention of inmate-on-inmate
 23            violence”;
 24         d) “appropriate discipline of staff members found to be involved in improper
 25            use of force incidences . . .”; and
 26         e) “appropriate selection and supervision of command and uniformed custodial
 27            staff.”
 28   (Id. at Prayer for Relief, 2-3.)

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                                FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 6 of 56 Page ID
                                 #:3335


  1         Motion practice commenced in February 2012 and continued through
  2   June 2012. Defendant twice moved to dismiss, which the Court granted in part and
  3   denied in part. (Dkt. 19, 26, 36 & 54.) Defendants moved to disqualify the ACLU
  4   as counsel, and the Court denied the motion. (Dkt. 29 & 55.) Plaintiffs moved for
  5   class certification, and the Court certified a class defined as “all present and future
  6   inmates confined in the Jail Complex in downtown Los Angeles” and named the
  7   ACLU Foundation of Southern California, the ACLU National Prison Project, and
  8   the law firm of Paul Hastings as co-class counsel. (Dkt. 20 & 54.)
  9         Between July 11, 2012 and February 14, 2014, the Plaintiffs and Defendant
 10   (collectively, the “Parties”) engaged in voluminous discovery and briefing on
 11   discovery issues, with Plaintiffs initially propounding 145 requests for production
 12   and 20 interrogatories on Defendant before agreeing in February 2013 to narrow the
 13   scope of the requests to help facilitate a cost-efficient and timely settlement of the
 14   action. (Declaration of John Durrant ISO Mot. for Final Approval of Settlement
 15   (“Durrant Decl.”) at ¶ 4.) Defendant ultimately produced nearly 100,000 pages of
 16   documents and video recordings to Plaintiffs. (Id., Ex. A (Feb. 14, 2014
 17   correspondence from T. Kim regarding Defendant’s 20th production of
 18   documents).)
 19         Settlement discussions commenced on June 29, 2012, when Defendant
 20   requested a settlement conference. (See Dkt. 59; see also Dkt. 60 & 61.) Plaintiffs
 21   filed a response to Defendant’s request on July 3, 2012, which contained both a
 22   copy of a detailed settlement framework that Plaintiffs had presented to Defendant
 23   on April 24, 2012, and Defendant’s June 13, 2012 response. (Dkt. 62-1 at 4-5, 7-8.)
 24   On July 6, 2012, Defendant filed a reply in support of his request for a settlement
 25   conference, noting that “the Sheriff’s Department is genuinely interested in
 26   pursuing settlement discussions.” (Dkt. 63 at 2.) On August 10, 2012, the Court
 27   scheduled a settlement conference for August 31, 2012. (Dkt. 68.) Following a
 28   continuance, the settlement conference was held on October 12, 2012. (Dkt. 74 &

                                                                PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -2-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 7 of 56 Page ID
                                 #:3336


  1   81.) In the following years, the Parties continued their settlement negotiations with
  2   the assistance of the Court, with settlement conferences before the Court noted on
  3   the docket. On May 22, 2014, the Court entered a minute order stating that the
  4   Parties discussed “settlement of this entire matter” and that “[t]he parties agree that
  5   a panel of experts, comprised of Richard Drooyan, Robert Houston, and Jeffrey
  6   Schwartz, shall be retained to prepare an [Implementation] Plan relating to certain
  7   policies and practices employed in the Los Angeles County Jails.” (Dkt. 101.) The
  8   Court further instructed:
  9                “The parties will submit a list of areas of concern to the Panel
 10                no later than Wednesday, May 28, 2014. The Panel has been
                   granted broad authority, including the authority to address
 11                subjects not raised by the parties and/or to conclude that further
 12                action is not required on certain issues.”

 13   (Id. (emphasis added).) Finally, the Court required the Parties to “circulate a
 14   proposed Settlement Agreement memorializing this understanding by May 29,
 15   2014.” (Id.) On September 19, 2014, the Court entered a minute order setting
 16   deadlines for the finalization of the Settlement Agreement and for the expert panel
 17   to complete the Implementation Plan (the latter of which the Court subsequently
 18   continued). (Dkt. 107 & 108.)
 19         With this guidance from the Court, the Parties were able to execute a
 20   Settlement Agreement in late September 2014, followed by the expert panel’s
 21   finalization of an Implementation Plan in October 2014. Defendant then submitted
 22   the Settlement Agreement and Implementation Plan to the Los Angeles County
 23   Board of Supervisors (“Board of Supervisors”) for approval. The Board of
 24   Supervisors approved the settlement on December 16, 2014.
 25         In accordance with the Settlement Agreement, the Parties moved for
 26   preliminary approval on January 6, 2015. (Dkt. 110.) On January 23, 2015, the
 27   Court granted preliminary approval of the settlement, the proposed notice of
 28   settlement and the scheme for giving notice—including for notice to the

                                                               PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -3-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 8 of 56 Page ID
                                 #:3337


  1   government required by the Class Action Fairness Act and the Plaintiff Class—and
  2   the process for class member objections. (Dkt. 111.) The Court set a fairness
  3   hearing on April 13, 2015, which the Parties jointly stipulated to continue until
  4   April 20, 2015. (Dkt. 111 & 112.) Defendant provided the required notice to the
  5   United States and California Attorneys General on January 16, 2015 and posted the
  6   notice to members of the Plaintiff Class on February 6, 2015 in accordance with the
  7   Court-ordered deadline. (Durrant Decl. at ¶ 6, Exs. B & C; Declaration of Esther
  8   Lim ISO Motion for Final Approval of Settlement (“Lim Decl.”) at ¶¶ 11-13.)
  9   III.   SUMMARY OF THE PROPOSED SETTLEMENT
 10          A.    CLASS DEFINITION
 11          The Plaintiff Class consists of “all present and future inmates confined in the
 12   Jail Complex in downtown Los Angeles,” i.e., Men’s Central Jail, Twin Towers
 13   Correctional Facility, and the Inmate Reception Center. (Dkt. 54.)
 14          B.    SUMMARY OF SETTLEMENT.
 15          The Complaint and First Amended Complaint sought only equitable relief,
 16   and the Court certified the Plaintiff Class under Rule 23(b)(2) of the Federal Rules
 17   of Civil Procedure. (Id.) The Settlement Agreement provides for the appointment
 18   of an expert panel and the creation of, and monitoring of Defendant’s compliance
 19   with, a remedial plan. (See generally Ex. A at II.1 & III.2.) The three experts,
 20   Richard Drooyan, former Chief Counsel of the Citizens’ Commission on Jail
 21   Violence, Robert Houston, former Director of the Nebraska Department of
 22   Corrections, and Jeffrey Schwartz, an independent corrections consultant (“the
 23   Expert Panel”), were to develop a plan to address and remedy the alleged pattern of
 24   excessive force (“the Implementation Plan”). Defendant has agreed to implement
 25   all provisions in the Implementation Plan within various timeframes after final
 26   approval by the Court. (Id. at VIII.1.) The Settlement Agreement also provides
 27   that the Expert Panel will monitor the Los Angeles Sheriff’s Department’s (the
 28   “Department”) implementation of, and continued compliance with, the terms of the

                                                               PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -4-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 9 of 56 Page ID
                                 #:3338


  1   Implementation Plan and make periodic reports to the Court on its findings. (Id. at
  2   V & VIII.1-2.) Where the Implementation Plan calls for the Department to adopt a
  3   policy, the Expert Panel will monitor that the Department has not only adopted the
  4   appropriate policy, but also is following that policy in practice. (Id.)
  5         The Implementation Plan addresses 21 major areas: (1) leadership,
  6   administration and management; (2) use of force policies and practices; (3) training
  7   and professional development related to use of force; (4) use of force on mentally
  8   ill prisoners and other special needs populations; (5) data tracking and reporting of
  9   force incidents; (6) inmate grievances and other complaints of excessive force;
 10   (7) inmate supervision, staff inmate relations, and communication with prisoners;
 11   (8) retaliation against inmates; (9) security practices; (10) management presence in
 12   housing units; (11) management review of force incidents and data; (12) reviews
 13   and investigations of use of force incidents; (13) disposition of use of force reviews
 14   and staff discipline issues; (14) criminal referrals and external reviews of use of
 15   force incidents; (15) documentation and recording of force incidents; (16) health
 16   care assessments and documentation following force incidents; (17) use of
 17   restraints; (18) adequate staffing and staff rotations; (19) early warning system
 18   related to use of force; (20) protocols for planned uses of force; and
 19   (21) organizational culture related to use of force. (See generally Ex. B.)
 20         The Implementation Plan contains more than 100 specific provisions that the
 21   Department must implement. (Id.) A number of the provisions of the plan are set
 22   forth below in summary fashion:
 23          The Sheriff should be personally engaged in the management of the
 24             Department’s jail facilities, and the Sheriff should regularly and
 25             adequately monitor the Department’s use of force policies and practices
 26             (id. at § 1.2);
 27          The Department will revise and reorganize its use of force policies for
 28             custody operations and add policies including ones restricting the use of

                                                                PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -5-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 10 of 56 Page ID
                                 #:3339


   1           chemical agents and kicking inmates, and requiring that inmates’ medical
   2           records be checked whenever possible before using Tasers or chemical
   3           agents (see, e.g., id. at §§ 2.1-2.13, 4.3.);
   4         Deputies assigned to the Jail Complex in downtown Los Angeles must
   5           receive, among other training, a one-time, eight-hour use of force policy
   6           training course and a yearly two-hour refresher course; a one-time, four-
   7           hour course in ethics, professionalism and treating inmates with respect
   8           and a two-hour refresher course every other year (see id. at §§ 3.1-3.6.);
   9         The use of force manual shall include, and the Department shall abide by,
  10           a requirement that a mental health professional be present whenever there
  11           is a planned cell extraction of an inmate with mental illness, and all
  12           custody personnel receive custody specific, scenario based, skill
  13           development training on identifying and working with mentally ill
  14           inmates (see id. at §§ 4.1, 4.5-4.9.);
  15         The Department will track the status of all investigations, reviews and
  16           evaluations of all custody use of force incidents and allegations of force to
  17           ensure that investigations, reviews, and evaluations are completed
  18           appropriately and timely (id. at § 5.1.);
  19         The Department must ensure that grievance/complaint forms are
  20           reasonably available to all inmates at all times, all grievances/complaints
  21           are properly tracked in a database, and that the custody division manual
  22           includes a provision that failure to provide a grievance form, destroying a
  23           grievance form and retaliating against an inmate for filing a grievance
  24           form may be a cause for discipline (see id. at §§ 6.2, 6.11-6.12.);
  25         The Department’s policies must prohibit personnel from retaliating
  26           against inmates (see id. at § 8.1.);
  27         The Department’s policies must provide that following a use of force
  28           incident, involved staff may not escort an inmate to medical, or

                                                                PLS.’ MEM. OF LAW ISO MOT. FOR
                                                 -6-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 11 of 56 Page ID
                                 #:3340


   1           segregation unless no other Department personnel is reasonably available
   2           (see id. at § 9.2.);
   3         Department personnel with a rank of unit commander or above must
   4           periodically tour the jail facilities (see id. at § 10.1.);
   5         All custody sergeants should receive an initial 16-hour block of training in
   6           conducting use of force investigations, reviewing use of force reports, and
   7           the Department’s new protocols for conducting such investigations, and a
   8           two-hour refresher course every year (id. at § 12.1.);
   9         The Department must have a firm policy of zero tolerance for acts of
  10           dishonesty or failure to report uses of force. If the Department does not
  11           terminate a member who is found to have been dishonest or used
  12           excessive force, the Department must document the reasons why the
  13           member was not terminated (see id. at §§ 13.1-13.2.);
  14         The Department must arrange for a documented medical assessment of
  15           each inmate upon whom force is used as soon as practical after the force
  16           incident (see id. at §§ 16.1.);
  17         The Department must reorganize its policies on the use of restraints in the
  18           jails and add safeguards to ensure that they are used only in appropriate
  19           circumstances and in a way that minimizes risk of injury or medical
  20           distress (see id. at §§ 17.1-17.10.);
  21         The Department must maintain its custody-wide rotation policies and
  22           rotate Department personnel at least as often as provided in those policies
  23           (see id. at § 18.1.);
  24         The Department must develop and maintain a formal early warning
  25           system to identify potentially problematic Department personnel based
  26           upon objective criteria such as number of force incidents, inmate
  27           grievances, allegations of misconduct, performance reviews, and policy
  28           violations (see id. at §§ 19.1-19.3.); and

                                                                  PLS.’ MEM. OF LAW ISO MOT. FOR
                                                 -7-             FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 12 of 56 Page ID
                                 #:3341


   1          The Department will not transfer or assign a staff member to custody as a
   2              formal or informal sanction for problem deputies (see id. at § 21.1.).
   3         C.      ATTORNEYS’ FEES AND COSTS
   4         The Settlement Agreement provides for the payment of $950,000 in
   5   attorneys’ fees and costs to counsel for the Plaintiff Class. (See Ex. A at XIII.1.)
   6   This amount is substantially less than the total lodestar for Plaintiffs’ counsel,
   7   calculated using the capped hourly rate for attorneys provided for in the Prison
   8   Litigation Reform Act. (See Declaration of Peter Eliasberg ISO Motion for Final
   9   Approval of Settlement (“Eliasberg Decl.”) at ¶¶ 6-9, Ex. C (noting that the ACLU
  10   of Southern California has worked more than 569.35 hours and incurred more than
  11   $120,206.77 in fees and $5,000 in costs from inception to July 8, 2014 and
  12   attaching chart summarizing Plaintiffs’ counsel’s total fees and costs for the same
  13   period); Durrant Decl. at ¶¶ 8-9, 12-13 (noting that Paul Hastings has worked more
  14   than 1985.2 hours and incurred more than $418,987.75 in fees and $40,679.91 in
  15   costs from inception to July 1, 2014 in representing the Plaintiff Class); Declaration
  16   of Margaret Winter ISO Motion for Final Approval of Settlement (“Winter Decl.”)
  17   at ¶¶ 9-16 (noting that the ACLU National Prison Project has billed more than
  18   489.30 hours and incurred $103,208.65 in fees and $14,357.99 in costs); Lim Decl.
  19   at ¶¶ 4-5 (noting that Ms. Lim has worked approximately 1,380 hours and interns
  20   have worked approximately 1,200 hours on this action, which amounts to $516,000
  21   in fees); Declaration of Christian Lebano ISO Motion for Final Approval of
  22   Settlement (“Lebano Decl.”) at ¶ 4 (noting that Mr. Lebano has worked 72.3 hours
  23   on this case, which amounts to $14,460 in fees).) Plaintiffs’ counsel are submitting
  24   either their billing records or detailed summaries of the hours they worked and the
  25   tasks they worked on to the Court along with this motion. (See id.)
  26         The Parties agreed that payment of these sums shall extinguish Plaintiffs’
  27   claims for all costs and for all fees incurred for all work performed by counsel in
  28   this case from its inception through final approval, if the Court grants it. (Ex. A at

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                 -8-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 13 of 56 Page ID
                                 #:3342


   1   ¶ XIII.1.) Moreover, the Parties agreed that Defendant will pay reasonable fees and
   2   costs to Plaintiffs’ counsel in connection with Plaintiffs’ ongoing monitoring efforts
   3   to ensure the Department’s compliance with the Settlement Agreement (the
   4   “monitoring fees”). (Id. at ¶ XIII.2.) As set forth in the Settlement Agreement, the
   5   amount of fees and costs due to Plaintiffs’ counsel for monitoring will be
   6   determined on a semi-annual basis for the duration of the Court’s jurisdiction over
   7   this matter—pursuant to a stipulation by the Parties and/or application to the
   8   Court—and is subject to Court approval, but the amount will not exceed $30,000
   9   per year.1 (Id.)
  10          D.     NOTICE TO THE CLASS.
  11          As set forth in the Settlement Agreement and the Court’s order granting
  12   preliminary approval, Defendant posted Notices of Settlement in the Jail Complex
  13   in downtown Los Angeles, and the ACLU of Southern California and the
  14   Department also posted the notice on their websites. (Lim Decl. at ¶¶ 11, 13.) The
  15   Class Notice informs members of the Plaintiff Class of the terms of the Settlement
  16   Agreement, their right to obtain a copy of the Agreement and object to the
  17   settlement, and their right to request to be heard at the final hearing on the fairness
  18   of the settlement. (See Dkt. 110 at Ex. C.)
  19   IV.    ARGUMENT
  20          A.     THE LEGAL STANDARD APPLICABLE TO APPROVAL OF
                     CLASS ACTION SETTLEMENTS
  21
  22          “The law favors settlement, particularly in class actions and other complex
  23   cases where substantial resources can be conserved by avoiding lengthy trials and
  24   appeals.” William B. Rubenstein, 4 Newberg on Class Actions § 13:44 (5th ed.
  25   2014). Class action settlements should be approved if they are “fundamentally fair,
  26
       1
        The Settlement Agreement provides that the $30,000 cap on monitoring fees owed to
  27   Plaintiffs’ counsel per year is “exclusive of any fees and costs reasonably incurred to
       oppose any motion to modify or terminate [the Settlement] Agreement by Defendant.”
  28   (Id. at ¶ XIII.2.)
                                                                  PLS.’ MEM. OF LAW ISO MOT. FOR
                                                  -9-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 14 of 56 Page ID
                                 #:3343


   1   adequate and reasonable.” Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276
   2   (9th Cir. 1992) (quoting Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615,
   3   625 (9th Cir. 1982)).
   4         In evaluating the fairness of a settlement, the fact that a settlement is the
   5   product of non-collusive, arms’ length bargaining is a significant factor supporting
   6   approval. Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009) (“We
   7   put a good deal of stock in the product of an arms-length, non-collusive, negotiated
   8   resolution. . . .”); accord Rubenstein, 4 Newberg on Class Actions § 13.45 (“[A]
   9   court will presume that a proposed class action settlement is fair when certain
  10   factors are present, particularly evidence that the settlement is the product of arms-
  11   length negotiations, untainted by collusion.”). In addition, the Court should balance
  12   several other factors, including some or all of the following:
  13                the strength of plaintiffs’ case; the risk, expense, complexity,
                    and likely duration of further litigation; the risk of maintaining
  14                class action status throughout the trial; the amount offered in
  15                settlement; the extent of discovery completed, and the stage of
                    the proceedings; the experience and views of counsel, the
  16                presence of a governmental participant; and the reaction of the
  17                class members to the proposed settlement.
  18   Linney v. Cellular Alaska P’ship, 151 F.3d 1234, 1242 (9th Cir. 1998) (quoting
  19   Torrisi v. Tuscon Elec. Power Co., 8 F.3d 1370, 1375 (9th Cir. 1993)).
  20         Not all of these factors will necessarily apply in every case. Under certain
  21   circumstances, the presence of a single factor alone may provide sufficient grounds
  22   for court approval. See, e.g., Torrisi, 8 F.3d at 1376. Furthermore, “district courts
  23   have wide discretion in assessing the weight and applicability of each factor.”
  24   5 James Wm. Moore et al., Moore’s Federal Practice, § 23.164[1] (3d ed. 2015).
  25   “The relative degree of importance to be attached to any particular factor will
  26   depend upon and be dictated by the nature of the claim(s) advanced, the type(s) of
  27   relief sought, and the unique facts and circumstances presented by each individual
  28   case.” Officers for Justice, 688 F.2d at 625; see also Torrisi, 8 F.3d at 1376; In re

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -10-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 15 of 56 Page ID
                                 #:3344


   1   Mego Fin. Corp. Secs. Litig., 213 F.3d 454, 458-60 (9th Cir. 2000) (district court
   2   did not abuse its discretion in finding that settlement of securities class action was
   3   fair, adequate and reasonable, given uncertain prospects of success, significant
   4   investigation, discovery and research completed by class, experience and views of
   5   counsel, support of class members for settlement, and lack of collusion between
   6   parties).
              B.    THE SETTLEMENT IS FAIR, REASONABLE, AND
   7
                    ADEQUATE
   8                1.     The Settlement Was a Product of Arms’ Length
   9                       Negotiations Among Counsel for the Parties.
  10         As an initial matter, this settlement was a result of arms’ length negotiation
  11   among counsel for the Parties. Indeed, the Court is well of aware of the length of
  12   time the Parties took to reach a settlement, the number of face-to-face settlement
  13   negotiations the Parties engaged in with the Court’s active assistance, and the hard-
  14   fought nature of the negotiations. The final settlement was only reached after
  15   almost two years of negotiation and many compromises made by both sides.
  16   (Durrant Decl. at ¶ 5.) The Ninth Circuit has made clear that it “put[s] a good deal
  17   of stock in the product of an arms-length, non-collusive, negotiated resolution.”
  18   Rodriguez, 563 F.3d at 965; accord Rubenstein, 4 Newberg on Class Actions
  19   § 13.45.
  20                2.     The Opinions of An Expert and Counsel, the Expense of a
                           Trial, the Delay Inherent in a Possible Appeal, and the
  21
                           Amount of Discovery Conducted Prior to the Reaching of
  22                       the Settlement Support the Reasonableness of the
                           Settlement.
  23
  24         The expert opinion of an experienced corrections administrator and a
  25   seasoned prisoners’ rights lawyer demonstrate that this settlement is fair for the
  26   Plaintiff Class. Eldon Vail, who served as Secretary for the Washington State
  27   Department of Corrections for four years and worked in correctional institutions for
  28   35 years, has reviewed the First Amended Complaint, the Settlement Agreement,

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -11-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 16 of 56 Page ID
                                 #:3345


   1   and the Implementation Plan. He has opined that:
   2                 [T]he agreement and implementation plan are thorough and
   3                 comprehensive and provide a clear road map for ensuring that
                     there is not an unconstitutional level of unnecessary and
   4                 excessive force by Sheriff’s personnel in the Los Angeles
   5                 County jails. They cover the necessary bases by providing
                     clear direction for improvements in all the five core
   6                 components I set forth in paragraph 4.2 Thus, in my opinion,
   7                 the settlement agreement and implementation plan are an
                     excellent resolution for the Plaintiff class of this lawsuit.
   8
   9   (Vail Decl. at ¶ 5.)
  10          Plaintiffs’ counsel Margaret Winter has been litigating class action lawsuits
  11   for equitable relief on behalf of inmates for more than 40 years. (Winter Decl. at
  12   ¶¶ 2-3.) She has investigated more than 30 jails and prisons to determine “whether
  13   there were systemic constitutional violations of the rights of inmates, including
  14   whether there was a pattern of excessive force or failure to protect from inmate-on-
  15   inmate violence by correctional guards or sheriff’s deputies against inmates.” (Id.
  16   at ¶ 3.) Further, she has litigated five class action cases seeking systemic relief for
  17   a systemic excessive force. (Id.) Ms. Winter stated the following about the
  18   conclusion she reached from her investigation:
  19                 I arrived at the firm conclusion that not only was there a
                     systemic problem of unconstitutional excessive use of force in
  20
                     the Los Angeles County jails, but that in fact the pervasiveness,
  21                 severity, brutality and wantonness of the pattern of excessive
                     force, and the degree to which that pattern was long-standing,
  22
                     blatant, and notorious, was worse than in any prison or jail I
  23                 had ever investigated or litigated, including four prisons in
  24
       2
        The “core components” that Mr. Vail identified are: “1) good policies, which are clear,
  25   well-organized, and specific on use of force—when it may be used and what kind of force
       is appropriate in given circumstances; 2) appropriate academy and in-service training on
  26   those policies; 3) good supervision by senior officers of use of force by line personnel 4) a
       system of review of force incidents that is thorough and unbiased, and 5) a system of fair
  27   but firm discipline for improper use of force and inaccurate or dishonest reporting on uses
       of force.” (Decl. of Eldon Vail ISO Mot. for Final Approval of Settlement (“Vail Decl.”)
  28   at ¶ 4.)
                                                                    PLS.’ MEM. OF LAW ISO MOT. FOR
                                                   -12-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 17 of 56 Page ID
                                 #:3346


   1                 Mississippi where I served or am serving as lead class counsel.
   2   (Id. at ¶ 6.) In addition, Ms. Winter stated the following about the proposed
   3   settlement:
   4                 [It] is one of the most well-crafted and effective consent decrees
                     on use of force of any I am acquainted with. It is particularly
   5
                     strong in that 1) the implementation plan is thorough and
   6                 comprehensively addresses the systemic root causes of use of
                     force, such as unclear and inadequate use of force policies,
   7
                     insufficient training on use of force, careless or deliberately
   8                 insufficient review of use of force, and inadequate re-training
                     and discipline for improper use of force; 2) the implementation
   9
                     plan addresses all the systemic problems identified in the
  10                 excellent report by the Citizen’s Commission on Jail Violence;
                     and 3) the settlement provides not just for requirements that the
  11
                     Sheriff Department must implement, but an effective process of
  12                 monitoring and enforcement by three experts with excellent
  13                 reputations and credentials.

  14   (Id. at ¶ 7.) These opinions from experts in correctional management and systemic
  15   reform litigation on behalf of inmates demonstrate the fairness and adequacy of the
  16   proposed settlement.
  17         The possibility that substantial expense would have to be incurred if this
  18   matter proceeded to trial – a trial that would likely take two or more weeks and
  19   require Plaintiffs’ counsel to call numerous fact witnesses and experts on use of
  20   force in the correctional setting – as well as the possibility of appeal also weigh in
  21   favor of a finding that the settlement is a fair and reasonable resolution of the
  22   dispute. See Petrovic v. Amoco Oil Co., 200 F.3d 1140, 1152 (8th Cir. 1999)
  23   (where case settles on eve of trial, expense of two week trial and likely appeals
  24   support reasonableness of settlement).
  25         This case settled after substantial written discovery, review of the discovery
  26   by members of Plaintiffs’ counsel, and discussion regarding the discovery with
  27   Plaintiffs’ expert. (See Durrant Decl. at ¶¶ 4-5; Eliasberg Decl. ¶ 10 (describing
  28   interactions with Steve Martin regarding discovery).) Moreover, the numerous

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                 -13-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 18 of 56 Page ID
                                 #:3347


   1   settlement negotiations that the Court supervised give it a substantial basis to
   2   evaluate the reasonableness of the settlement. In sum, the years of proceedings that
   3   preceded the settlement weigh in favor of approval of the settlement. As the Ninth
   4   Circuit has explained:
   5                 So long as the record before [the district court] is adequate to
   6                 reach an intelligent and objective opinion of the probabilities of
                     success should the claim be litigated and form an educated
   7                 estimate of the complexity, expense and likely duration of such
   8                 litigation, . . . and all other factors relevant to a full and fair
                     assessment of the wisdom of the proposed compromise, it is
   9                 sufficient. Of course, such an assessment is nearly assured
  10                 when all discovery has been completed and the case is ready for
                     trial.
  11
  12   Officers for Justice, 688 F.2d at 626 (omission in original; internal quotations
  13   omitted).
  14                 3.     There Has Been Only One Objection to the Settlement From
                            Members of the Plaintiff Class.
  15
  16          Defendant posted the Class Notice approved by the Court throughout the Jail
  17   Complex in downtown Los Angeles, and the notice was posted on the websites for
  18   the ACLU of Southern California and the Department. Only one member of the
  19   Plaintiff Class sent in an objection to the proposed settlement.3 (See Lim Decl at ¶¶
  20   8-10.) The low number of objections from members of the Plaintiff Class is
  21   another factor that supports a conclusion that the settlement is reasonable. See, e.g.,
  22   Petrovic, 200 F.3d at 1152 (fact that fewer than 4% of the class filed objections
  23   supports finding that the settlement is reasonable); cf. Hanlon v. Chrysler Corp.,
  24   150 F.3d 1011, 1027 (9th Cir. 1998) (fact that few people opted out of proposed
  25   settlement class supports determination that settlement is fair and reasonable).
  26
       3
        Plaintiffs’ counsel received the objection to the proposed settlement in the mail on the
  27   afternoon of March 23, 2015 as this motion was being finalized for filing. Should the
       Court require a response to the objection, Plaintiffs’ counsel respectfully requests the
  28   opportunity to provide a response to the objection in a separate filing.
                                                                   PLS.’ MEM. OF LAW ISO MOT. FOR
                                                  -14-            FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 19 of 56 Page ID
                                 #:3348


   1                4.     The Attorneys’ Fees and Costs Requested By Plaintiffs’
   2                       Counsel as Part of the Settlement Are Fair and Reasonable.

   3         The Settlement Agreement in this case provides for Defendant to pay
   4   Plaintiffs’ counsel $950,000 in fees and costs if the Court gives final approval of
   5   the settlement. (See Ex. A at XIII.1.) The Court has broad discretion in assessing
   6   the reasonableness of attorneys’ fees in class actions. See Powers v. Eichen, 229
   7   F.3d 1249, 1256 (9th Cir. 2000); In re FPI/Agretech Secs. Litig, 105 F.3d 469, 472
   8   (9th Cir. 1997). An attorneys’ fees award based on the lodestar is presumptively
   9   reasonable. See, e.g., Blum v. Stenson, 465 U.S. 886, 897 (1984) (lodestar amount
  10   is “presumed to be the reasonable fee”); Hensley v. Eckerhart, 461 U.S. 433 (1983)
  11   (to determine what constitutes a reasonable award, “[t]he most useful starting point
  12   for determining the amount of a reasonable fee is the number of hours reasonably
  13   expended on the litigation multiplied by a reasonable hourly rate”).
  14         In this case, the agreed on amount is well below the lodestar using the capped
  15   hourly rates provided by the Prison Litigation Reform Act, as the attached
  16   declarations from John Durrant, Peter Eliasberg, Margaret Winter, Esther Lim, and
  17   Christian Lebano demonstrate. (See, e.g., Eliasberg Decl. at ¶¶ 6-9, Ex. C; Durrant
  18   Decl. at ¶¶ 8-9, 12-13; Winter Decl. at ¶¶ 9-16; Lim Decl. at ¶¶ 4-5; Lebano Decl.
  19   at ¶ 4.) The lodestar plus compensable costs at time counsel for the Parties agreed
  20   in principle on the settlement was approximately $1,233,083.97, or 23% larger than
  21   the $950,000 settlement amount. (See Eliasberg Decl. at 9, Ex. C.) In addition,
  22   Plaintiffs’ counsel have spent significant additional time on this matter—which is
  23   not reflected in the settlement amount—including reviewing and commenting on
  24   the draft implementation plan by the Expert Panel, successfully opposing ALADS’s
  25   motion to intervene, preparing the motions for preliminary approval of the
  26   settlement, drafting the notice to the class, and preparing this motion for final
  27   approval. (See, e.g., id. at ¶ 7; Durrant Decl. at ¶¶ 12-13.)
  28         Because only one objection has been submitted concerning the requested fees

                                                                 PLS.’ MEM. OF LAW ISO MOT. FOR
                                                 -15-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 20 of 56 Page ID
                                 #:3349


   1   and costs, and the amount of Defendants have agreed to pay in fees and costs is
   2   well below Plaintiffs’ counsels’ lodestar using the rates required by the Prison
   3   Litigation Reform Act, the Court should find the fee amount reasonable.
   4         The Settlement Agreement also provides that Defendant will pay Plaintiffs’
   5   counsel reasonable fees and costs in connection with Plaintiffs’ ongoing monitoring
   6   efforts to ensure the Department’s compliance with the Implementation Plan.
   7   (Ex. A at ¶ XIII.2.) Although the amount of the monitoring fees will be determined
   8   on a semi-annual basis for the duration of the Court’s jurisdiction over this matter,
   9   the Settlement Agreement imposes an express cap of $30,000 per year on the
  10   monitoring fees and the amount of monitoring fees paid to Plaintiffs’ counsel is
  11   subject to Court approval. (Id.) Because there were no objections submitted
  12   concerning the provision of monitoring fees, the monitoring fees are subject to the
  13   Court’s continuing approval, the monitoring fees are expressly capped, and 42
  14   U.S.C. section 1988 allows for payment of monitoring fees, the Court should hold
  15   that the amount of the monitoring fees are reasonable. See Prison Legal News v.
  16   Schwarzenegger, 608 F.3d 446, 451 (9th Cir. 2010) (a party that prevails by
  17   obtaining a favorable settlement may recover attorneys’ fees under 42 U.S.C.
  18   section 1988 for monitoring compliance with the settlement agreement, even when
  19   such monitoring does not result in any judicially sanctioned relief).
  20   V.    CONCLUSION
  21         For the reasons stated herein, Plaintiffs respectfully request that this Court
  22   grant final approval the proposed settlement.
  23
  24
  25
  26
  27
  28

                                                                PLS.’ MEM. OF LAW ISO MOT. FOR
                                                -16-           FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 21 of 56 Page ID
                                 #:3350


   1   Dated: March 23, 2015        Respectfully Submitted,
   2
   3                                ACLU FOUNDATION OF
   4                                SOUTHERN CALIFORNIA

   5                                By:          /s/ PETER ELIASBERG
                                                      PETER ELIASBERG
   6
   7                                NATIONAL PRISON PROJECT OF THE
                                    AMERICAN CIVIL LIBERTIES UNION
   8                                FOUNDATION
   9
                                    By:      /s/ MARGARET WINTER
  10                                              MARGARET WINTER
  11
                                    PAUL HASTINGS LLP
  12
                                    By:      /s/ JOHN DURRANT
  13                                                JOHN DURRANT
  14                                Attorneys for Plaintiffs
                                    ALEX ROSAS and JONATHAN GOODWIN on
  15                                behalf of themselves and of those similarly
                                    situated
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                         PLS.’ MEM. OF LAW ISO MOT. FOR
                                          -17-          FINAL APPROVAL OF SETTLEMENT
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 22 of 56 Page ID
                                 #:3351




                   EXHIBIT A
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 23 of 56 Page ID
                                 #:3352


                    SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

                                              RECITALS

           A.      This Settlement Agreement and Release ("Agreement") is made and entered into on
  or about September 26, 2014, by and between Plaintiff Alex Rosas on behalf of himself and the
  Plaintiff Class, as defined below, on the one hand, and Defendant Sheriff John L. Scott, in his
  official capacity ("Defendant"), on the other hand, (collectively, "the Parties") with reference to
  the following facts:

          B.       Plaintiffs Alex Rosas and Jonathan Goodwin ("Named Plaintiffs") filed a
  Complaint, and thereafter a First Amended Complaint ("Complaint") in the United States
  District Court, Central District of California, entitled Alex Rosas, et al. v. Leroy D. Baca, Case
  No. CV 12-00428 DDP, which arose out of certain alleged acts and/or omissions by Defendant
  ("the Civil Action"). In the Civil Action, Plaintiffs sought certain declaratory and injunctive
  relief against Defendant as a result of purported events that occurred at Men's Central Jail
  ("MCJ"), Twin Towers Correctional Facility ("TTCF"), and the Inmate Reception Center
  ("IRC") (collectively, "the Jail Complex in downtown Los Angeles"), and that allegedly resulted
  in injuries to the Plaintiff Class;

          C.       On or about June 7, 2012, the Court entered an order granting Plaintiffs' motion
  for class certification under Rule 23(b )(2) of the Federal Rules of Civil Procedure, certifying a
  declaratory/injunctive relief class that, for purposes of this Agreement, is defined as "all inmates,
  now and in the future, in the custody of the Los Angeles County Sheriff's Department in the Jail
  Complex in downtown Los Angeles" ("the Plaintiff Class");

         D.     Named Plaintiffs and the Plaintiff Class are represented by court-appointed class
  counsel, the American Civil Liberties Union, the ACLU Foundation of Southern California, and
  Paul Hastings LLP (collectively, "Class Counsel"); and,

        E.      The Parties desire to settle all of the claims arising out of the Civil Action which
  Named Plaintiffs and the Plaintiff Class have or may have against Defendant, including its
  employees, representatives, and agents, both named and unnamed, as of the date of this
  Agreement.

            IT IS THEREFORE AGREED BETWEEN THE PARTIES AS FOLLOWS:

  I.        AGREEMENT CONTINGENT ON APPROVAL BY THE COURT AND THE
            BOARD OF SUPERVISORS.

  1.      This Agreement and the obligations of the Parties thereunder are contingent upon the
  final approval by the Court, as set forth below.

  2.     This Agreement and the obligations of the Parties thereunder also are contingent upon the
  approval by the Los Angeles County Board of Supervisors ("the Board"), as set forth below.



  !lOA. I098696.2
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 24 of 56 Page ID
                                 #:3353



3.      In the event that: (I) this Agreement does not receive approval by the Board; (2) this
Agreement does not receive final approval by the Court; or (3) any appeal of the Court's final
approval of this Agreement is filed and not upheld on appeal, then this Agreement shall be of no
force or effect and shall not be admissible in any court for any reason, except that Defendant
agrees to pay reasonable compensation to the Panel, as defined below, for services rendered as of
that date.

II.      APPOINTMENT OF A PANEL TO DEVELOP A CORRECTIVE ACTION PLAN
         AND EVALUATE COMPLIANCE WITH THE PLAN.

1.      The Coutt will appoint Richard Drooyan, Jeffrey Schwartz, and Robert Houston ("the
Panel"), pursuant to Rule 706 of the Federal Rules of Evidence, to develop a corrective action
plan ("Action Plan") designed to ensure that the Plaintiff Class are not subjected to excessive
force in the Jail Complex in downtown Los Angeles, and to monitor and advise the Comt on
Defendant's compliance with the Action Plan.

2.     The Panel will be entitled to reasonable compensation in an amount approved by the
Board and the Court. Defendant will bear the cost of the compensation of the Panel.

3.     In the event Mr. Drooyan becomes unavailable during the term of this Agreement, then
Defendant will select his replacement. If Mr. Schwartz becomes unavailable during the term of
this Agreement, then Class Counsel will select his replacement. If Mr. Houston becomes
unavailable during the term of this Agreement, then the Patties will meet and confer to reach
agreement regarding a replacement.

III.     DEVELOPMENT AND SUBSTANTIVE PROVISIONS OF THE ACTION PLAN.

l.     By October 6, 2014, at latest, the Panel will submit the Action Plan to the Court for its
review and approval.

2.      In developing the Action Plan, the Panel may consider provisions relating to Use of Force
Policies, Practices and Documentation; Training and Professional Development Related to Use
of Force; Use of Force on Prisoners with Mental Illness and other Special Needs Populations;
Security Policies and Practices; and any such other areas regarding use of force as they may
deem necessary. In developing the Action Plan, the Panel will make best efforts to make it
consistent with the recommendations of the Citizen's Commission on Jail Violence, which
Defendant is already in the process of implementing. In developing the Action Plan, the Panel
will make its best estimates as to how long it should take Defendant to implement each
recommendation and include those estimates in its Action Plan.

3.      Prior to submitting the Action Plan to the Court, the Panel will provide a draft of the
Action Plan to the Parties for their review and comment. After input from the Patties, the Panel
may, in their discretion, revise the draft Action Plan. Within 30 days of the Panel providing a
final version of the Action Plan to the Patties, counsel for Defendant shall submit the Action
Plan and this Agreement to the Board for its review and consideration with respect to whether to
approve the Agreement. Within 60 days of the Panel providing a final version of the Action Plan
to the Patties, the Board shall decide whether it will approve the Agreement. If the Board

HOA.I098696.2                                    2
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 25 of 56 Page ID
                                 #:3354


   approves the Agreement, the Parties will seek preliminary and then final approval of this
   Agreement with the Court as set forth below. If the Board fails to indicate its approval or
   disapproval of the Agreement within 60 days of the Panel providing a final version of the Action
   Plan to the Parties, the Agreement will be deemed rejected at which time either Party may
   request confirmation from the Court that settlement discussions have ended.

   IV.       CLASS NOTICE AND SETTLEMENT FAIRNESS HEARING.

   The following procedures will govern the Court's preliminary and final approval of this
   Agreement and notice to the Plaintiff Class:

   I.      Within 21 days of any approval of the Action Plan and the Agreement by the Board, the
   Parties will file a joint stipulation requesting that the Court grant preliminary approval of this
   Agreement, as well as approve the notice to the Plaintiff Class. The Parties will submit the
   proposed forms of all notices and other documents necessary to implement this Agreement to the
   Court, including the final Action Plan. The Parties will translate the proposed class notice into
   Spanish. Defendant will provide notice of the proposed settlement to the appropriate federal and
   state officials, as required by the Class Action Fairness Act ("CAFA") codified at 28 U.S.C.
   § 1715.

   2.      If the Court grants preliminary approval of this Agreement and approves the notice to the
   Plaintiff Class, the Parties will take the following steps to effect notice of this Agreement as
   required by the CAF A:

             a.      Defendant will promptly post a copy of the notice to the Plaintiff Class in both
                     English and Spanish in the common area of all housing units in MCJ and TTCF and
                     in places in the IRC where inmates who are being processed into the jails can read
                     them;

             b. Defendant will post copies of the notice to the Plaintiff Class in both English and
                Spanish in places where K-1 0 inmates and inmates in disciplinary segregation in MCJ
                and TTCF can read them. Defendant will provide copies of the notice upon request to
                K-1 0 inmates and inmates who have been in disciplinary segregation in MCJ and
                TTCF for more than I 0 days during the notice period. Defendant will bear the cost of
                translating, printing, posting, and distributing the notice to the Plaintiff Class; and

             c. Defendant and Class Counsel promptly will post a copy of the notice to the Plaintiff
                Class in both English and Spanish on their respective websites.

   3.    Objecting to the Settlement. The notice to the Plaintiff Class will provide that class
   members ("Class Members") who wish to object to the Agreement prior to the fairness hearing
   may do so by filing with the Court a written statement objecting to the Agreement.

   4.      Fairness Hearing: On or after the later of: (I) 51 days of the posting of the notice to the
   Plaintiff Class, or (2) 90 days of the last date of service of the proposed settlement on the
   appropriate federal and state officials as required by CAF A, the Court will conduct a hearing for
   final approval of this Agreement ("the Fairness Hearing"). No Class Member will be entitled to


   HOt\. I098696.2                                       3
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 26 of 56 Page ID
                                 #:3355



be heard at the Fairness Hearing (whether individually or through separate counsel) unless
written notice of the Class Member's intention to appear at the Fairness Hearing is served on
counsel for the Parties no later than 21 days prior to the Fairness Hearing. The Court, in its
discretion, may determine which Class Members, if any, who have requested to appear will be
entitled to appear and be heard at the Fairness Hearing. No Class Member may object to this
Agreement, unless copies of any written objections or briefs are filed with the Court and served
on counsel for the Parties no later than 21 days prior to the Fairness Hearing. Class Members
who fail to file and serve timely objections in the manner specified above will be deemed to have
waived any objections and will be foreclosed from making any objection (whether by appeal or
otherwise) to this Agreement or the Court's approval thereof.

5.      In the event that the Court grants final approval of this Agreement, it shall enter an order:
(1) memorializing its final approval of this Agreement; (2) granting costs and attorneys' fees to
Class Counsel as set forth in Section XIII; (3) dismissing the Civil Action, with prejudice
(including, without limitation, dismissal in favor of Defendant and all of its employees,
representatives, and agents, both named and unnamed); and (4) retaining jurisdiction for the
purpose of enforcing the provisions of this Agreement or modifying it in accordance with
Section XIV(6) below. The Parties shall bear their own costs, expenses, and attorneys' fees
incurred in the Civil Action, except as otherwise provided herein.

V.       PERIODIC REPORTS BY THE PANEL.

The Panel will prepare and submit to the Parties and the Court periodic reports evaluating
Defendant's compliance with the Action Plan ("Reports") at intervals the Panel shall
determine. The Panel will provide the Reports to the Parties in draft form prior to submission
to the Comt, will consider the Parties' comments, and may in its discretion make responsive
changes before submitting the Repotts to the Court. The Reports shall state that they are
created for purposes of this settlement. The Reports may not be used against Defendant in any
other legal proceeding for any purpose.

VI.      INSPECTION BY CLASS COUNSEL.

On reasonable notice, Class Counsel will have reasonable access to the Jail Complex in
downtown Los Angeles, including without limitation staff, inmates, and documents, for
inspection to evaluate compliance with the Action Plan. Class Counsel shall provide
Defendant's counsel with 10 days' notice before any document request and 4 days' notice before
any on-site inspection. Defendant's counsel shall have the right to be present for any jail
inspection and/or discussion with Sheriffs Department personnel. Defendant reserves the right
to object, whether on privilege grounds or otherwise, to any document request made by Class
Counsel. The Parties agree to negotiate in good faith to resolve any disputes concerning
objections to document requests from Class Counsel and if the dispute cannot be resolved, to
submit the issue to the Court for resolution. Any information or documents obtained by Class
Counsel under this section may be used solely for purposes of this action and may not be used in
any other action for any purpose. Nothing in this section shall restrict monitoring activities by
the ACLU (such as readily available access to Title 15 logs) in Ruthoford v. Scott, Case No. CV
75-04111-DDP.


JJOA.I098696.2                                    4
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 27 of 56 Page ID
                                 #:3356



   VII.      RELEASE.

   1.       Except as otherwise provided in this Agreement and as separate consideration for the
   agreements contained herein, Named Plaintiffs and the Plaintiff Class hereby absolutely, fully
   and forever release, relieve, waive, relinquish, and discharge Defendant and its successors,
   predecessors, related entities, departments, subsidiaries, representatives, assigns, agents, partners,
   ot1icers, directors, managers, insurers, shareholders, employees, and attorneys, including,
   without limitation, the Board and Lawrence Beach Allen & Choi, A Professional Corporation,
   and each of them ("Released Parties"), ot: and from, any and all known claims for equitable
   relief: subject to the following limitations: (i) this waiver shall not apply to claims based on acts
   or omissions arising after the date of execution of this Agreement; and (ii) this waiver shall be
   limited to the allegations made in the Complaint (which do not include claims for damages).

   2.      Named Plaintiffs and the Plaintiff Class acknowledge their intention that, upon execution
   by the Parties and approval by the Court, this Agreement, except as expressly provided for
   herein, shall be effective as a full and final accord and satisfaction and settlement of and as a bar
   to all of the claims in the Civil Action. Named Plaintiffs and the Plaintiff Class acknowledge
   that they have been informed by their attorneys, or otherwise have been informed of, and that
   they are familiar with, Section 1542 of the Civil Code of the State of California, which provides
   as follows:

       A general release does not extend to claims which the creditor does not know or suspect to
       exist in his favor at the time of executing the release, which if known by him must have
       materially affected his settlement with the debtor.

   Named Plaintiffs and the Plaintiff Class hereby waive and relinquish all rights and benefits
   against the Released Parties that they have or may have under Section 1542 of the Civil Code of
   the State of California, subject to the following limitations: (i) this waiver shall not apply to
   claims based on acts or omissions arising after the date of execution of this Agreement; and (ii)
   this waiver shall be limited to the allegations made in the Complaint (which do not include
   claims for damages).

   3.      Named Plaintiffs and the Plaintiff Class agree, represent, and warrant that they
   understand that the Civil Action involves arguable and disputed questions of fact and law, that
   the liability of Defendant for the alleged acts in the Civil Action is disputed, and that the
   consideration provided herein is not to be construed as an admission of liability by Defendant,
   which is expressly denied, and that this Agreement arises from compromise.

   VIII.     TERMINATION.

   1.       After the final approval of this Agreement by the Court, Defendant will implement each
   and every recommendation from the Panel contained in the Action Plan as soon as reasonably
   practicable. When the Panel certifies that any recommendation of the Action Plan has been
   implemented, it shall commence a period of monitoring the Defendant's compliance with respect
   to that recommendation ("Compliance Period"). It is anticipated that there will be multiple
   Compliance Periods for the various recommendations contained in the Action Plan, and that

   HOi\. I098696.2                                   5
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 28 of 56 Page ID
                                 #:3357



Defendant will implement and be judged to be in compliance with numerous recommendations
in six months or less from the submission of the Action Plan to the Court, others in six to twelve
months from the submission of the Action Plan to the Court, and there is a possibility that
Defendant may be judged to have come into compliance with others more than twelve months
from the submission of the Action Plan to the Court. If, after the Panel reports that the
Defendant has initially reached compliance, the Panel subsequently reports that Defendant has
fallen out of compliance, Plaintifis may make a motion to the Comi for contempt, but only after
having engaged in a good faith attempt to resolve the issue of noncompliance with Defendant's
counsel and having allowed a reasonable period to cure noncompliance. The Court may exercise
its equitable powers to fashion relief, including ordering compliance and extending the
compliance period, consistent with the Prison Litigation Reform Act ("PLRA"). Alternatively,
Plaintiffs may request that the Panel propose a remedial plan, which may include an extension of
the compliance period, consistent with the PLRA, for the Court's approval.

2.      Defendant may seek to terminate this Agreement through application to the Court,
consistent with the PLRA, at such time as all of the following conditions have been satisfied:

             (a) For those recommendations that the Panel certifies the Defendant has
implemented in six months or less after the submission of the Action Plan to the Comi: (i)
Defendant must sustain compliance with each of those recommendations for either a period of at
least 18 consecutive months or satisfy any alternative requirements imposed pursuant to
Paragraph 1 above; and (ii) Defendant must sustain simultaneous compliance with all those
recommendations for a period of at least 12 consecutive months prior to filing a motion to
terminate;

             (b) For those recommendations that the Panel certifies the Defendant has
implemented in six to twelve months after the submission of the Action Plan to the Court: (i)
Defendant must sustain compliance with each of those recommendations for either a period of at
least 18 consecutive months or satisfy any alternative requirements imposed pursuant to
Paragraph 1 above; and (ii) Defendant must sustain simultaneous compliance with all those
recommendations for a period of at least 12 consecutive months prior to filing a motion to
terminate; and

             (c) For those recommendations that the Panel certifies the Defendant has
implemented in more than twelve months after the submission of the Action Plan to the Comi: (i)
Defendant must sustain compliance with each of those recommendations for either a period of at
least 18 consecutive months or satisfy any alternative requirements imposed pursuant to
Paragraph 1 above; and (ii) Defendant must sustain simultaneous compliance with all those
recommendations for a period of at least 12 consecutive months prior to filing a motion to
terminate.

       The period of simultaneous compliance for the recommendations that Defendant
implements in six months or less need not run concurrently with the period of simultaneous
compliance for the recommendations that Defendant implements in six to twelve months.
Neither of those periods needs to run concurrently with the period of simultaneous compliance


HOA I098696.2                                   6
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 29 of 56 Page ID
                                 #:3358


  for the recommendations that Defendant implements in more than twelve months if those
  recommendations that were implemented more than twelve months after submission of the
  Action Plan to the Court were ones the panel estimated in its Action Plan would take more than
  12 months to implement. However, if Defendant fails to implement within 12 months one or
  more recommendations that the Panel estimated could be implemented in 12 months or less,
  Defendant must maintain simultaneous compliance with those recommendations and the
  recommendations that were implemented in six to twelve months after the submission of the
  Action Plan to the Court for a period of at least 12 consecutive months prior to tlling a motion to
  terminate.


  IX.      PLAINTIFFS' AND THE PLAINTIFF CLASS'S ALLEGATIONS,
           DEFENDANT'S DENIALS, AND LACK OF ADMISSION OF LIABILITY.

  In the Civil Action, Named Plaintiffs and the Plaintiff Class allege that they have been subjected
  to a pattern of grossly excessive force, in violation of the Eighth and Fourteenth Amendments to
  the United States Constitution. Defendant generally and specifically denies all Named Plaintiffs'
  and the P1aintiffClass's allegations. It is understood that this Agreement is not an admission of
  any liability or wrongdoing on the part of Defendant and/or its employees, agents and former
  employees and agents of Defendant or any other persons.


  X.       AGREEMENT CONDITIONAL ON FINDINGS BY THE COURT PURSUANT
           TO 18 U.S.C. § 3626(a)(l)(A)

  This Agreement will become null and void unless the Court, in its Stipulated Order and Final
  Judgment, makes findings that although this matter was not actually litigated or resolved on the
  merits, the relief is narrowly drawn, extends no further than necessary to correct the alleged
  violations of the Federal rights, and is the least intrusive means necessary to correct the alleged
  violations of the Federal rights. See 18 U.S.C. § 3626(a)(l)(A). Notwithstanding any other term
  of this Agreement, the Parties stipulate that Defendant expressly disclaims and does not admit
  that Defendant is committing any violation of any Federal right. Except to enforce this
  Agreement, this Section of this Agreement shall not be admissible against Defendant in any
  court for any purpose.

  XI.      REPRESENTATION OF COMPREHENSION OF THIS AGREEMENT

  In entering this Agreement, Plaintiff Alex Rosas, on behalf of himself and the Plaintiff Class,
  represents that he has relied upon the advice of Class Counsel, who are the attorneys of his own
  choice, concerning the legal and other consequences of this Agreement; that the terms of this
  Agreement have been completely read and explained to him by Class Counsel; and the terms of
  this Agreement are fully understood and voluntarily accepted by him. Plaintiff Alex Rosas
  hereby fm1her represents that he has not received or relied upon any legal or other advice from
  Defendant, Defendant's representatives, and/or attorneys.



  HOA.l 098696.2                                   7
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 30 of 56 Page ID
                                 #:3359



XII.      WARRANTY OF CAPACITY TO EXECUTE AGREEMENT.

Plaintiff Alex Rosas, on behalf of himself and the Plaintiff Class, represents and warrants that no
other person(s) or entity has, or has had, any interest in the claims, demands, obligations, or
causes of action referred to in this Agreement, except as otherwise set forth herein; that he has
the sole right and exclusive authority to execute this Agreement; and that he has not sold,
assigned, transferred, conveyed or otherwise disposed of any of the claims, demands, obligations
or causes of action referred to in this Agreement.

XIII.     ATTORNEY FEES AND COSTS.

I.      Assuming this Agreement is approved by the Court and the Board, and is upheld on
appeal (if any), within 45 days of the later of the Court's final approval of the Agreement or the
resolution of any appeal, Defendant shall tender to Class Counsel a warrant in the amount of
$950,000 made payable to "ACLU Foundation of Southern California" for full and final
satisfaction of any and all claims by Named Plaintiffs, the Plaintiff Class, and Class Counsel for
attorneys' fees, expenses, and costs related to the Civil Action. Class Counsel acknowledge and
agree to provide to Defendant any and all paperwork and information including, without
limitation, a duly executed W-9 IRS form, prior to receiving said payment.

2.      Defendant will pay reasonable attorneys' fees and costs to Class Counsel for ongoing
work to ensure compliance with this Agreement. The amount of fees and costs due to Class
Counsel under this paragraph will be determined on a semi-annual basis for the duration of the
Court's jurisdiction over this Agreement. The Parties will try to reach agreement on these semi-
annual fee awards and submit a stipulation for the Court's approval. If the Parties are unable to
reach agreement on a semi-annual fee award, Class Counsel will submit a motion for reasonable
attorneys' fees, and the Co uti will determine the appropriate amount of fees. Under no
circumstances shall Class Counsel be entitled to payment of more than $30,000 per year in
attorneys' fees and costs to ensure compliance with this Agreement, exclusive of any fees and
costs reasonably incurred to oppose any motion to modify or terminate this Agreement by
Defendant.

3.      Notwithstanding any other provision in this Agreement, if it becomes necessary for the
Plaintiffs to incur additional legal fees in connection with a motion for contempt, the Couti may
award reasonable fees.

XIV.     MISCELLANEOUS.

I.       Counterparts.

   This Agreement may be executed in one or more counterparts, each of which shall be
deemed an original, but all of which together shall constitute one and the same instrument.

2.       California Law.

   This Agreement shall be interpreted under and pursuant to the laws of the State of California
 and not construed for or against any party.

HOA.l 098696.2                                   8
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 31 of 56 Page ID
                                 #:3360



   3.         Successors and Assigns.

       All of the terms and provisions contained herein shall inure to the benefit of and shall be
   binding upon the Patiies hereto and their respective heirs, legal representatives, successors and
   assigns.

   4.         Parties in Interest.

       Nothing in this Agreement, whether express or implied, is intended to confer any rights or
   remedies under or by reason of this Agreement on any persons other than the Parties and their
   respective successors and assigns, nor is anything in this Agreement intended to relieve or
   discharge the obligation or liability of any third persons to any party to this Agreement, nor shall
   any provision give any third person any right of subrogation or action over or against any party
   to this Agreement.

   5.        Further Assurances.

       Each of the Parties hereto shall execute and deliver any and all additional papers, documents,
   and other assurances, and shall do any and all acts and things reasonably necessary in connection
   with the performance of their obligations hereunder to carry out the intent of the Parties hereto.

   6.        Modifications or Amendments.

       No amendment, change or modification of this Agreement shall be valid, unless in writing
   and signed by all of the Parties hereto and ordered by the Court, or, upon a motion of a party, the
   party seeking modification establishes that a significant change in facts or law warrants revision
   and that the proposed modification is suitably tailored to the changed circumstance.

   7.        Entire Agreement.

       This Agreement constitutes the entire understanding and agreement of the Parties with
   respect to its subject matter and any and all prior agreements, understandings or representations
   with respect to its subject matter are hereby terminated and canceled in their entirety and are of
   no further force or effect.

   8.        Captions.

       The captions appearing at the commencement of the sections hereof are descriptive only and
   for convenience in reference. The sections, and not the captions, shall control and govern in the
   construction of this Agreement.




   1101\.\098696.2                                  9
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 32 of 56 Page ID
                                 #:3361




  9.        Sevgrability.

      If any part of this Agreement is deemed unenforceable, illegal, or in violation of any State or
  Federal law, that portion of the Agreement will be severable and the remaining portion or
  portions of the Agreement will remain in full force and effect.

  I 0.      Expenses.

     Each of the Parties shall pay all of their own costs, legal fees, accounting fees, and any other
  expenses incurred or to be incurred by it or them in negotiating and preparing this Agreement,
  except as expressly set forth herein.

           Q(Jit//1/Prr
         Dated:    .;J ~ , 20 !4                By:--c~~L.:::*~·v ·
                                                     Alex Rosas, individually and on behalf of
                                                     the Plaintiff Class


         APPROVED AS TO FORM AND CONTENT:


                                                ACLU FOUNDATION OF
                                                 SOUTHERN CALIFORNIA

                                                       r:·;7 J? --
                                                By:    P;t~a:berg                    ___.._
                                                       Attorneys for Plaintiffs Alex Rosas and
                                                       Jonathan Goodwin, and the Plaintiff Class


                                                PAUL HASTINGS L.L P



                                                            Durrant
                                                       At rneys for Plaintiffs Alex Rosas and
                                                       Jonathan Goodwin, and the Plaintiff Class




  HOA 1098696.2                                   10
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 33 of 56 Page ID
                                 #:3362




                                     AMERICAN CIVIL UBERTIES UNION


                                     (~,~~
                                       ~er  Marga .et
                                            Attc eys for Plaintiffs Alex Rosas and
                                            Jonathan Goodwin, and the Plaintiff Class



        Dated: - - - - - - ' 2014    OFFICE OF COUNTY COUNSEL,
                                     COUNTY OF LOS ANGELES


                                     By:_-:::----::-:-::-:---:-------
                                            Roger H. Granbo
                                            Attorneys for Defendant Sheriff John L. Scott,
                                            in his official capacity only




     HOA.I 098696.2                    11
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 34 of 56 Page ID
                                 #:3363




         Dated: _ _ _ _ _, 2014      AMERICAN CIVIL LIBERTIES UNION


                                    By:---::-:-----::::-:,-------
                                        Margaret Winter
                                        Attorneys for Plaintiffs Alex Rosas and
                                        Jonathan Goodwin, and the Plaintiff Class



                                     OFFICE   ~9\mTY CO
                                     COUNT    070s ANGE

                                     By:_l~IA~·f~~l:·~~~
                                           Roger H.
                                           Attorney or Defendant Sheriff John L. Scott,
                                           in his of 1cial capacity only




    HOA.l 098696.2                    11
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 35 of 56 Page ID
                                 #:3364




                   EXHIBIT B
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 36 of 56 Page ID
                                 #:3365



                                   IMPLEMENTATION PLAN

         The Court Monitors appointed by United States District Judge Dean Pregerson in the
  matter entitled Rosas, et al. v. Baca, Case No. CV 12-00428 DDP, have developed this
  Implementation Plan that the Los Angeles Sheriff’s Department (the “Department”) shall be
  required to implement as part of the settlement of the Rosas case. The Court Monitors
  understand that the items in this Implementation Plan set forth below will be mandatory when
  submitted by the parties to the Court and ordered by the Court as part of the settlement.

          With respect to the policy changes set forth below, the Court Monitors will monitor
  (1) the Department’s implementation of the policy change; (2) the Department’s adherence in
  practice to the policy change through the monitoring period; and (3) the Department’s
  investigation of any alleged or potential violations of the revised policies. Any violations of
  these revised policies should be timely and appropriately investigated and appropriately
  disciplined up to and including termination.

          In view of the on-going negotiations between the County of Los Angeles (the “County”)
  and the United States Department of Justice regarding mentally ill and suicidal inmates, we have
  not made any recommendations to address issues regarding these inmates other than relating to
  the use of force against these inmates.

         1.      Leadership, Administration and Management (expect to be completed by
                 June 30, 2015):

                1.1     Custody Operations should continue to be headed by an Assistant Sheriff
         with no areas of responsibility other than Custody Operations.

                1.2    The Sheriff should be personally engaged in the management of the
         Department’s jail facilities, and the Sheriff should regularly and adequately monitor the
         Department’s use of force policies and practices, and its compliance with this court-
         ordered Implementation Plan.

                1.3     Department managers should be held accountable should they fail to
         address use of force problems at the Department’s jail facilities.

                 1.4    The Department should report regularly to the Board of Supervisors on
         use of force and the status of the Department’s compliance with this Implementation
         Plan.

         2.      Use of Force Policies and Practices (expect to be completed by June 30,
                 2015):

                 2.1     The Department should have a separate, revised, free-standing, and
         logically organized Custody Force Manual for Custody Operations that includes all use of
         force policies and procedures that are in the Custody Division Manual and the sections of
         the Manual of Policy and Procedures that are applicable to the Custody Operations. The
         Custody Force Manual should not include sections of the Manual of Policy and



                                                  1
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 37 of 56 Page ID
                                 #:3366



       Procedures that are only applicable to other areas of the Department and should not
       include sections that are not applicable to the use of force by Department members.

               2.2     The Department’s Custody use of force policies should provide that force
       used by Department members: (a) must be used as a last resort; (b) must be the minimal
       amount of force that is necessary and objectively reasonable to overcome the resistance;
       (c) must be terminated as soon as possible consistent with maintaining control of the
       situation; and (d) must be de-escalated if resistance decreases.

               2.3     The Department’s Custody use of force policies should provide that it is a
       violation of Department policy to cause or facilitate inmate-on-inmate violence or to
       harass or otherwise verbally provoke an inmate to justify the use of force against the
       inmate. The policies should also provide that staff are prohibited from publicly
       humiliating inmates; from using slurs concerning race, gender, ethnicity, or sexual-
       orientation; using obscenities; or exposing prisoners to an unreasonable risk of being
       assaulted by fellow prisoners.

             2.4     The Department’s Custody use of force policies should provide that force
       may not be used as discipline or corporal punishment.

               2.5     The Department’s Custody use of force policies should provide that a
       Department member may not strike an inmate or use chemical agents or a taser on an
       inmate who is restrained unless the inmate is assaultive and presents an immediate threat
       of injury to a Department member or another person, and unless there are no other more
       reasonable means to control the inmate.

               2.6    The Department’s Custody use of force policies should provide that
       striking an inmate in the head or kicking an inmate who is on the ground, or kicking an
       inmate who is not on the ground anywhere above the knees is prohibited unless the
       inmate is assaultive and presents an imminent danger of serious injury to a Department
       member or another person and there are no other more reasonable means to avoid serious
       physical injury. The Department’s Custody use of force policies should also provide that
       kicking an inmate who is not on the ground below the knees is prohibited unless the
       inmate is physically assaultive, and the kick is utilized to create distance between the
       member and the assaultive inmate.

               2.7     The Department’s Custody use of force policies should provide that
       Department members confronted with a situation in which force may be required must
       call a supervisor to the scene as soon as time and circumstances permit.

              2.8     The Department’s Custody use of force policies should provide that all
       Department members are responsible for preventing excessive force, and that Department
       members witnessing excessive force have a duty to attempt to stop, reduce or control the
       force being used.

              2.9     The Department’s Custody use of force policies should provide that when
       confronting an armed inmate, every effort should be made to control the inmate at a



                                                2
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 38 of 56 Page ID
                                 #:3367



       distance and avoid the types of force that would subject Department members to close
       contact with the inmate.

               2.10 The Department’s Custody use of force policies should provide that
       Department members may only use instruments of force or weapons that are (1)
       authorized by the Department and (2) for which they have been trained, except that
       Department members may use any available instruments or weapons to prevent imminent
       loss of life or serious bodily injury if there are no other more reasonable alternative
       available.

             2.11 The Department’s Custody use of force polices should provide that
       Department members are required to wait a sufficient amount of time after applying
       chemical agents to allow the chemical agents to take full effect before applying additional
       chemical agents or other force in a cell extraction or other planned use of force.

               2.12 The Department’s Custody use of force policies should provide that
       chemical agents and Tasers and other electronic stun devices should not be used:
       (a) gainst an inmate when he or she no longer presents a danger or is no longer resistant;
       (b) against inmates known to suffer medical conditions that may be aggravated or
       affected by such agents; or (c) in a manner contradictory to the manufacturer’s
       recommendations or Department training.

               2.13 The Department’s Custody use of force policies should provide that, when
       time and circumstances permit, an inmate’s medical/mental health records should be
       checked before chemical agents or Tasers and other electronic stun devices are used
       against the inmate. If a medical check finds these items are contra-indicated, they should
       not be used (subject, however, to the exception in 2.10, above).

       3.     Training and Professional Development Related to Use of Force (curriculum
              for 3.1 through 3.4 expected to be implemented by June 30, 2015 with
              training completed by December 31, 2016; 3.5 and 3.6 to be completed by
              June 30, 2015 ):

               3.1     Use of force training requirements for all existing Department members in
       Custody Operations should include, at a minimum, a one-time eight (8) hour use of force
       policy training course for all members assigned to custody and then a two (2) hour
       refresher course every year.

               3.2     Training requirements for all existing Department members in Custody
       Operations should include, at a minimum, a one-time four (4) hour training course in
       ethics, professionalism and treating inmates with respect, and then a two (2) hour
       refresher course on these subjects at least every other year.

               3.3     New Department members should receive a minimum of six weeks of
       classroom, custody training, which may include training in the Academy or the Jail
       Continuum and in Crisis Intervention and Conflict Resolution (see 4.9 below), in addition
       to the in-service training they receive while assigned in the jails. With the exception of


                                                3
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 39 of 56 Page ID
                                 #:3368



       one week of the Department’s Jail Operations Continuum training, all of this training
       should occur before new Department members receive in-service training in the jails, and
       this training should include at least 12 to 16 hours of both Custody-specific, scenario-
       based use of force policy training and training in ethics, professionalism and treating
       inmates with respect.

               3.4    Custody-based, use of force scenarios should be included as part of the use
       of force policy training provided by the Custody Training & Standard Bureau on an in-
       service and refresher basis.

               3.5    Unit Commanders should determine what additional training, counseling
       or mentoring may be required when a personnel complaint against a Department member
       involving the use of force is resolved with a finding that it “Appears Employee Conduct
       Could Have Been Better”; direct that the Department member undergo such additional
       training, counseling or mentoring; and document the action taken.

              3.6    To ensure a meaningful probationary period, new Department members
       assigned to Custody Operations should be reviewed within six months after being
       assigned to Custody and again before their first post-probationary assignment.

       4.     Use of Force on Mentally Ill Prisoners and Other Special Needs Populations
              (expect to be completed by June 30, 2015 for Recommendations 4.1 through
              4.5 and training completed by December 31, 2016 for Recommendations 4.6
              through 4.9):

               4.1    The Department’s Custody use of force policies should require a mental
       health professional to be on-scene to attempt to resolve the situation without force
       whenever there is a cell extraction or, to the extent possible, any other similar planned
       use of force.

               4.2     The Department’s Custody use of force policies should require supervisors
       investigating the use of force by Department members to interview any mental health
       professionals who witnessed the force incident and/or attempted to resolve the incident
       without force, about the members’use of force and the mental health professional’s
       efforts to resolve the matter without the use of force. With the consent of the mental
       health professional, the interview should be recorded on videotape or audiotape.

               4.3    The Department’s Custody use of force policies should provide that in
       situations involving an acutely psychotic or other severely mentally disabled inmate,
       following an initial burst of a chemical agent that has not produced compliance, the
       Department should discontinue the further use of chemical agents if the inmate is
       sufficiently mentally disabled that he or she cannot conform his or her behavior to
       commands.

               4.4    The Department’s Custody use of force policies should provide that in
       situations involving a mentally ill inmate who does not present an obvious danger to
       himself or herself or to anyone else, and who refuses to exit his or her cell without force,
       there should be a reasonable “cooling off”period after all other non-force attempts at


                                                 4
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 40 of 56 Page ID
                                 #:3369



       resolution have been tried and failed. Following this “cooling off”period, either a mental
       health professional, Department supervisor, or watch commander should again try to gain
       compliance without the use of force.

               4.5     The Department’s Custody use of force policies should provide that
       whenever a planned use of force is precipitated by a medical or mental health provider’s
       order (e.g., a cell extraction following a psychiatrist’s order that an inmate be moved for
       treatment purposes), the prescribing provider should be notified and allowed an
       opportunity to intervene in an effort to de-escalate the situation and to determine if the
       provider’s order should remain in effect. If the prescribing provider is unavailable, then
       another medical or mental health provider should be notified to carry out these duties.

               4.6     The Department should provide a minimum of 32 hours of Custody-
       specific, scenario-based, skill development training to all Deputy Sheriffs assigned to the
       Men’s Central Jail, the Twin Towers Correctional Facilities, or the Inmate Reception
       Center, or who are assigned to work with mentally ill inmates at the Century Regional
       Detention Facility (the “Deputies in the Designated Facilities”) on Crisis Intervention and
       Conflict Resolution with eight (8) hours of refresher training every other year.

               4.7     The Department should provide a minimum of eight (8) hours of custody
       specific, scenario based, skill development training on identifying and working with
       mentally ill inmates to all existing Custody personnel with a four (4) hour refresher
       course every other year. For Deputies in the Designated Facilities, this training may be a
       part of the 32 to 40 hours of Crisis Intervention and Conflict Resolution training
       described above.

               4.8     The Department should provide a minimum of eight (8) hours of custody
       specific, scenario-based, skill development training on identifying and working with
       mentally ill inmates to all new members as part of the Jail Operations Continuum .

               4.9     The Department should provide a minimum of 32 hours of custody
       specific, scenario-based, skill development training in Crisis Intervention and Conflict
       Resolution to new Department members in the Academy or in Custody before they are
       assigned to any jail facilities.

               4.10 Within six months following the completion of the implementation of
       Recommendations 4.5 through 4.9, the Department should complete an evaluation
       regarding the effectiveness of the Crisis Intervention and Conflict Resolution training and
       should submit a written report to the Board of Supervisors recommending whether or not
       the training should be extended to the remaining Deputies in Custody Operations and/or
       to Custody Assistants.

       5.     Data Tracking and Reporting of Force Incidents (expect to be completed by
              June 30, 2015):

               5.1     The Department should track the status of all investigations, reviews and
       evaluations of all Custody use of force incidents and allegations of force to ensure that
       investigations, reviews, and evaluations are completed appropriately and timely. As soon


                                                5
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 41 of 56 Page ID
                                 #:3370



       as practical, but no later than the end of the shift during which the use of force incident or
       allegation of force occurred, the supervisor or Internal Affairs investigator assigned to
       conduct the initial investigation should enter the use of force incident or the force
       allegation into a Department database with a summary description of the force incident or
       allegation and the Category of the force incident as it is known at the time. The database
       should be updated promptly to reflect any changes in the status of the investigation,
       review or evaluation and changes in the Category of the force incident.

              5.2     Evaluations of force incidents by Unit Commanders should be reviewed as
       follows:

              All Category 1 Force cases and Category 2 cases not that do not meet the criteria
              for a roll-out by the Custody Force Review Team should be reviewed by a least
              one Commander in Custody Operations;

              All allegations of force should be reviewed by at least two Commanders in
              Custody Operations;

              Category 2 Force cases that meet the criteria for a roll-out by the Custody Force
              Review Team should be reviewed by the Custody Force Review Committee; and

              Category 3 Force cases should be reviewed by the Executive Force Review
              Committee.

               5.3    The Department’s Custody use of force policies should provide that any
       unexplained tactical decisions pertaining to uses of force or any discrepancies among
       witnesses and/or evidence should be referred by the reviewing Commander(s) or
       committee in writing back to the incident investigator for additional investigation and
       then reported back in writing to the reviewing Commander(s) or committee.

       6.     Inmate Grievances and Other Complaints of Excessive Force (expected to be
              completed by December 31, 2015):

              6.1    Inmate grievances and inmate requests should be reported on separate
       forms, whether on paper or electronically.

              6.2      The Department must ensure that grievance forms are reasonably available
       to inmates at all times.

              6.3      The inmate grievance form should have a prominent box that says,
       “Emergency Grievance”with boxes to check for “yes”or “no”and a space for a
       description of the emergency. When an inmate requests a grievance form for an
       emergency grievance, the inmate should be given the form immediately.

               6.4     The Department’s inmate grievance forms should include “use of force”as
       a specific category of “grievances against staff”for inmates to check to ensure that such
       grievances are brought to the Unit Commanders’attention and properly handled.



                                                 6
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 42 of 56 Page ID
                                 #:3371



              6.5     The Department’s inmate grievance forms should include “retaliation”and
       “harassment”as specific categories of “grievances against staff”for inmates to check to
       ensure that such grievances are brought to the Unit Commanders’attention and properly
       handled.

               6.6   The Department’s inmate grievance forms should have a check box
       indicating whether the complaint was upheld or denied and a statement next to the
       “denied”box that the inmate has the right to appeal and how long he or she has to appeal.

               6.7     The Custody Division Manual should provide that Department members
       should give all grievances marked “emergency”to a supervisor as soon as possible.
       Supervisors should review all emergency grievances as soon as possible to determine if
       the situation requires immediate action to protect the life or safety of the inmate and, if
       so, should immediately notify the Watch Commander/Shift Supervisor of the non-
       medical emergency. The Watch Commander/Shift Supervisor should immediately
       confirm that the non-medical emergency exists, take such action as is necessary to protect
       the inmate, and as soon as time and circumstances permit provide the inmate with a
       written response documenting what action was taken to address the emergency.

                6.8     If the Department determines that a non-medical emergency does not
       exist, it should notify the inmate as soon as practical that the grievance will be handled as
       a non-emergency grievance and document why it was determined not to be an
       emergency.

               6.9     All emergency grievances should be forwarded to the Inmate Grievance
       Coordinator along with information about the decision made and when the inmate was
       notified about that decision. The Inmate Grievance Coordinator should review the
       emergency grievance to determine if it was handled in accordance with policy and should
       notify the Unit Commander if it was not handled properly.

               6.10 Grievances should be collected from the locked grievance boxes on each
       living unit no less frequently than once per day. The time of the collection and the person
       doing the collection should be recorded in the living unit log and in a separate grievance
       collection log maintained by the Inmate Grievance Coordinator. Grievances should be
       reviewed by the Department within 24 hours of the collection of the grievance.

                6.11 The Custody Division Manual should provide that failing to provide an
       inmate with a grievance form when requested, failing to respond appropriately to a
       grievance, destroying or concealing grievances, attempting to intimidate an inmate from
       filing a grievance, and retaliating against an inmate who has filed a grievance, may each
       be a cause for disciplinary action.

              6.12 All inmate grievances should be entered into and tracked in an inmate
       grievance database that reflects the nature and status of the grievance, and personnel
       responsible for the Department’s handling of the grievance.




                                                 7
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 43 of 56 Page ID
                                 #:3372



               6.13 The Inmate Grievance Coordinator should regularly track the
       Department’s handling of inmate grievances to ensure that the investigations are
       completed timely and reasonably, and that inmates are notified of the results of the
       investigations.

               6.14 The Inmate Grievance Coordinator should provide a monthly report to
       Unit Commanders and senior management in Custody Operations of the status of inmate
       grievances, the timeliness of the Department’s investigations of the grievances, responses
       to grievances and grievance appeals, and notifications to inmates of the results of the
       investigations and grievance appeals.

               6.15 The Inmate Grievance Coordinator should analyze inmate grievances
       monthly to identify any problematic trends and should provide that analysis in a monthly
       report to Unit Commanders and senior management in Custody Operations.

              6.16 The Department should establish a centralized unit with a sworn
       supervisor, custody assistants and civilian personnel to be responsible for collecting the
       inmate grievances and requests from inmates or from secured boxes; reviewing and
       categorizing the grievances and requests; forwarding them for investigation or handling;
       and responding to inmates. Department personnel should be co-located in the Twin
       Towers and other personnel should be co-located in the Pitchess Detention Center.

              6.17    There should be a 30-day deadline for filing use of force grievances by
       inmates.

             6.18 There should be no deadline for filing Prison Rape Elimination Act
       (“PREA”) grievances by inmates

              6.19 The Department should adhere to the requirements in Custody Division
       Manual 5-12/000.00 and 5-12/010.00 and respond to inmate grievances “within 15
       calendar days after the submission of the complaint,”absent exceptional circumstances,
       which must be documented.

               6.20 Inmates should have 15 days from receipt of a denial of a grievance to file
       an appeal of the grievance; however, if the inmate receives the denial while in punitive
       segregation, the inmate should have 15 days after release from segregation to file the
       appeal.

       7.     Inmate Supervision, Staff Inmate Relations, and Communication with
              Prisoners (expected to be completed by June 30, 2015):

               7.1    Inmates who submit grievances should be advised that a Conflict
       Resolution Meeting under the Department’s Conflict Resolution policy in 5-12/000.00
       (Inmate Requests for Service and Complaints (Non-Medical/Non-Mental Health)) is
       voluntary for both the inmate and the involved personnel to address a grievance instead
       of the Department conducting a personnel investigation and making a finding to resolve
       the grievance. If the Conflict Resolution meeting is successful, the grievances should be



                                                8
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 44 of 56 Page ID
                                 #:3373



       marked “closed through conflict resolution”in the grievance database and properly
       documented.

               7.2    An inmate should be advised of the results of the Department’s
       investigation of the inmate’s grievance against personnel, but not any sanction imposed,
       within 10 days of the Department’s adjudication of the grievance.

              7.3     The Department should ensure that there are adequate avenues for
       constructive prisoner-staff communication, such as Town Hall meetings.

       8.     Retaliation Against Inmates (expected to be completed by June 30, 2015):

               8.1    The Department policies should prohibit personnel from retaliating
       against inmates.

              8.2     The Department should combine the “Complaints of Retaliation”
       provisions in 5-12/000.00 and 5-12/010.00 into one section in the Custody Division
       Manual to ensure that there is a single, consistent policy on the handling of such
       grievances regardless of who receives the grievance and who is the subject of the
       grievance.

               8.3    Unit Commanders’evaluations of investigations of inmate grievances or
       complaints that Department members used any level of force to retaliate against inmates
       should be reviewed by the Custody Force Review Committee to assess the correctness of
       the evaluations.

       9.     Security Practices (expected to be completed by June 30, 2015):

                9.1     The Department should conduct and document cell checks of inmates in
       general population cells as well as in segregation and protective custody units at least
       every 30 minutes on an irregular schedule. The Department should conduct and
       document cell checks of inmates in the high observation units and the forensic inpatient
       units at least every 15 minutes on an irregular schedule. All cell checks should be
       conducted by an officer at the cell front. Should the Department and/or the County reach
       an agreement with the United States Department of Justice regarding cell checks at the
       jails that provides for a schedule of checks in general population, segregation, and
       protective custody units, then those provisions will supersede this provision.

               9.2    The Department’s Custody use of force policies should provide that,
       following a use of force or interaction with a recalcitrant inmate, the staff member
       escorting an inmate to medical, holding or segregation should not be the same staff
       member involved in the confrontation or use of force unless there is no other staff
       member reasonably available to escort the inmate.

              9.3     The Department’s Custody use of force policies should provide that
       Department members have a duty to protect inmates and to take appropriate steps to
       intervene in inmate-on-inmate violence as soon as it is reasonably safe to do so.



                                               9
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 45 of 56 Page ID
                                 #:3374




       10.       Management Presence in Housing Units (expected to be completed by June
                 30, 2015):

              10.1 Senior managers from the rank of Unit Commanders and above should be
       required to periodically tour the jail facilities, including nights and weekends.

             10.2 Housing units should document visits to jail facilities by Department
       managers (above the rank of Sergeant) in electronic records or visitor logs.

       11.       Management Review of Force Incidents and Data (expected to be completed
                 by June 30, 2015):

              11.1 The Custody Force Rollout Team’s involvement in reviewing the
       correctness of the Unit Commanders’evaluations of the force incidents should not delay
       the Department’s investigation of force incidents.

       12.       Reviews and Investigations of Use of Force Incidents (expected to be
                 completed by June 30, 2015):

               12.1 All custody Sergeants should receive an initial 16-hour block of training in
       conducting use of force investigations, reviewing use of force reports, and the
       Department’s new protocols for conducting such investigations, and a two (2) hour
       refresher course every year.

               12.2 Inmate witnesses to force incidents should be asked to be interviewed, and
       interviewed, away from other inmates.

              12.3 No Department member involved in the use of force incident should be
       present for, or participate in, the request for interview or the interview itself absent
       exigent circumstances, which must be justified in the supervisors’subsequent reports.

               12.4 Force investigations should not be conducted by the direct supervisor of
       the Department members involved in the use of force incident if the supervisor directed,
       participated in, or planned the use of force.

                 12.5   Use of force investigation packages should have a standard order and
       format.

       13.       Disposition of Use of Force Reviews and Staff Discipline Issues (expected to
                 be completed by June 30, 2015):

              13.1 The Department should have a firm policy of zero tolerance for acts of
       dishonesty or failure to report uses of force. If the Department does not terminate a
       member who is found to have been dishonest, used excessive force, or violated PREA,
       the Department should document the reasons why the member was not terminated and, in
       addition to the discipline that is imposed, the Department should place the member on a



                                                10
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 46 of 56 Page ID
                                 #:3375



       formal and adequate performance review program and closely monitor the member’s
       performance.

              13.2 All findings of dishonesty, excessive force, and PREA violations by
       Department members in Custody Operations, the punishment imposed by the
       Department, and the reasons why any member was not terminated for the acts of
       dishonesty, excessive force, or violation of PREA should be reported to the Office of
       Inspector General each quarter.

       14.    Criminal Referrals and External Reviews of Use of Force Incidents (expected
              by June 30, 2015):

               14.1 Prior to submission, all referrals of an inmate for criminal prosecution for
       assaulting a staff member, or related charges, arising from an incident involving the use
       of force by Department members, should be reviewed by a Unit Commander to ensure
       that the charges are not being brought to help justify the staff use of force.

              14.2 The Department should timely forward to the District Attorney’s office
       incidents of officer misconduct that may amount to criminal violations.

       15.    Documentation and Recording of Force Incidents (expected to be completed
              by June 30, 2015):

              15.1 The Department’s Custody use of force policies should provide that every
       Department member who uses or assists in the use of Reportable Force, and every
       supervisor who directed that force be used, should be required to complete a separate and
       independent written report before going off duty, unless the Watch Commander/
       Supervising Lieutenant determines that there are exigent circumstances, such as the
       Department member’s physical or medical condition, that impair the Department
       member’s ability to complete the report before going off duty, in which case the report
       should be completed as soon as possible and the reasons for the delay should be
       documented.

               15.2 The Department’s Custody use of force policies should provide that every
       Department member who witnesses the use of force by another Department member
       should be required to prepare an independent written report unless the Watch
       Commander/Supervising Lieutenant specifically designates which witnesses will write
       reports because there are a large number of Department members who witnessed the
       same incident.

              15.3 The Department’s Custody use of force policies should provide that a
       Department member who uses force should describe in his or her written report the force
       used by any other Department member in response to an inmate’s actions during the
       incident as well as his or her own force.

             15.4 The Department’s Custody use of force policies should provide that a
       Department member using force or witnessing force should describe in his or her written



                                               11
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 47 of 56 Page ID
                                 #:3376



       report any visible or apparent injuries to Department members, inmates or other persons
       involved in a use of force.

               15.5 The Department’s Custody use of force policies should provide that a
       Department member who wants to make any clarifications or changes after viewing a
       video of a force incident should be required to either prepare a supplemental report or
       specifically note any changes to the Department member’s initial report that were made
       after viewing the video of the force incident.

               15.6 The Department’s Custody use of force policies should provide that, to the
       extent practical, Department members should be separated until they have completed
       their use of force reports and/or witness reports on use of force incidents.

               15.7 Watch Commanders/Supervising Lieutenants and Unit Commanders
       should review Department members’force reports to ensure that they reflect each
       member’s individual perceptions and recollections of the events and that they do not have
       common wording or phrasing that would suggest inappropriate collaboration on force
       reports.

       16.    Health Care Assessments and Documentation Following Force Incidents
              (expected to be completed by June 30, 2015):

              16.1 The Department should require a documented medical assessment of each
       inmate upon whom force is used as soon as practical after the force incident.

               16.2 With reasonable accommodations for privacy, the Department should
       require supervisors investigating force incidents to photograph any injury, swelling or
       redness sustained by each Department member who asserts orally or in a written force
       report that the Department member was assaulted by an inmate or note the absence of any
       injury, swelling or redness in the force package.

              16.3 Medical staff treating an injured inmate should be required to report to the
       Department any injuries related to a use of force or an allegation by the inmate of a use of
       force.

       17.    Use of Restraints (expected to be completed by June 30, 2015):

               17.1 Instead of the introductory paragraph in 5-03/130.00 (Medically Ordered
       Restraint Devices), the Custody Force Manual should have a separate section that sets
       forth the general principles governing the use of restraints as follows: (1) restraints are
       either security restraints or medically ordered restraints; (2) restraints should not be used
       to punish inmates; (3) restraint devices should only be used when there is a potential
       threat of physical harm, destruction of property, or escape, or to escort or transport
       inmates; (4) caution must be used to guard against the risk of medical distress; (5) the
       longer the restraint, the greater the risk; (6) restraints should never be placed on the head,
       nose, or neck of an inmate or in any other manner that may interfere with breathing or
       blood flow; (7) in-cell security restraints should not be used except in emergency
       circumstances and for the shortest period of time possible; (8) inmates should not be


                                                 12
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 48 of 56 Page ID
                                 #:3377



       restrained to fixed objects unless the object is designed for that purpose, and then only for
       the shortest period of time possible; (9) choke-hold type restraints, including carotid
       restraints, are prohibited absent life threatening or high risk assaultive situations where no
       other means of controlling the inmate is available; (10) it is the responsibility of
       Department members approving or applying restraints (other than restraints used to escort
       or transport inmates) to ensure that there is frequent, careful, and documented monitoring
       of the condition of the inmate(s) in restraints; and (11) medical assistance should be
       summoned immediately whenever an inmate appears to be experiencing medical distress
       or complains of difficulty breathing.

               17.2 The Department should combine and conform all provisions related to
       restraints on pregnant inmates into one section in the Custody Division Manual (by
       combining the Restraining Pregnant Inmates section under 5-03/130.00 (Medically
       Ordered Restraint Devices) and Section 5-03/115 (Pregnant Inmates)).

              17.3 The Department’s Custody use of force policies should provide that a
       medical professional should examine an inmate as soon as the inmate is placed in the
       Safety Chair with a use of force, or if the inmate struggles against the chair restraints, and
       should perform a vitals check every hour while the inmate is in the Safety Chair.

               17.4 The Department’s Custody use of force policies should provide that
       Department members should check at least every 20 minutes on the welfare of any
       inmate in restraints other than restraints used in escorting or transporting inmates, and
       verify and document that the inmate is not in undue pain and that the restraints are not
       creating injury or obvious medical problem.

               17.5 The Department’s Custody use of force policies should provide that
       Department members should avoid, to the extent possible under the circumstances,
       placing their weight on an inmate’s back or shoulders in a way that impairs the inmate’s
       breathing. Once an inmate is controlled, he or she should be placed on his or her side to
       minimize breathing problems and the risk of medical distress or positional asphyxia.
       Inmates carried by members, or by gurney or stretcher, should be placed on their side if
       practical.

               17.6 The Department’s Custody use of force policies should provide that any
       inmate who is subjected to a multi-point restraint or who is otherwise restrained in a
       supine position for an extended period of time should be observed continuously so that if
       the inmate is on his or her back, the inmate does not vomit and asphyxiate, and if on his
       or her stomach does not stop breathing because of his or her body weight compressing
       the chest. Medical staff should be called to the scene at the first sign of such distress.

               17.7 The Department’s Custody use of force policies should provide that multi-
       point restraints may only be ordered where an inmate poses an immediate threat of
       serious harm to himself or others and, in the absence of exigent circumstances, such
       restraints may only be ordered by a medical or mental health professional.




                                                13
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 49 of 56 Page ID
                                 #:3378



               17.8 The Department’s Custody use of force policies should provide that multi-
       point restraints may only be used until the inmate no longer poses such an immediate
       threat of serious harm as determined by a medical or mental health professional, and the
       continued use of the multi-point restraint should be assessed by a medical or mental
       health professional at least every hour to determine if the inmate continues to pose an
       immediate threat of serious harm to himself or others.

               17.9 The Department’s Custody use of force policies should provide that the
       decision to use a multi-point restraint may be made by a shift supervisor if a medical or
       mental health professional is not available and there is no alternative such as a safety
       chair, in which case the supervisor should be responsible for monitoring the inmate’s
       condition and determining whether to release the inmate from the multi-point restraint.

             17.10 The Department’s Custody use of force policies should provide that
       medication may not be used solely for security purposes.

       18.    Adequate Staffing and Staff Rotations (expected to be completed by June 30,
              2015):

               18.1 The Department should maintain its Custody-wide rotation policies and
       rotate Department members at least as often as provided in those policies.

                18.2 The Department should audit semi-annually each unit’s compliance with
       its rotation policies.

       19.    Early Warning System Related to Use of Force (expected to be completed by
              December 31, 2015):

               19.1 The Department should develop a formal Early Warning System to
       identify potentially problematic Department members based upon objective criteria such
       as number of force incidents, inmate grievances, allegations of misconduct, performance
       reviews, and policy violations. This system should be in addition to subjective
       assessments and personnel reviews by management.

               19.2 The Compliance Lieutenants in each facility should review monthly the
       reports generated by the Department’s Early Warning System to identify potentially
       problematic Department members and promptly notify the Department member’s Unit
       Commander and the Assistant Sheriff for Custody Operations in writing.

               19.3 Unit Commanders should, in consultation with the appropriate Chief,
       determine whether a non-disciplinary performance mentoring program is appropriate for
       Department members identified through the Early Warning System and, if so, place the
       Department member in the program with specific performance metrics. If the
       Department decides not to place a Department member identified through the Early
       Warning System on a performance mentoring program, it should document the reasons
       for the decision.




                                               14
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 50 of 56 Page ID
                                 #:3379



       20.    Protocols for Planned Uses of Force (expected to be completed by June 30,
              2015):

               20.1 The Custody Force Manual should indicate that there are two types of
       force: Reactive Force and Planned Force, and it should eliminate the definitions of rescue
       force, directed force, and medical assistance force, which do not reflect the Department’s
       force policies or provide guidance in the use of force

               20.2 Reactive Force should be defined as force that is used in response to an
       immediate threat to the safety of any Department member or inmate, the immediate threat
       of the destruction of a substantial amount of property, or the immediate threat of an
       escape, and when there is no time to plan or wait for assistance.

               20.3 Planned Force should be defined to be all force other than Reactive Force.
       With respect to Planned Force, the Department’s policies should require, time and
       circumstances permitting, that: (1) a medical staff person be on scene or, if impractical or
       unsafe, on stand by; (2) the event be video recorded; (3) a supervisor be on scene to direct
       the Use of Force; and (4) Shift Supervisor approval for the Use of Force.

       21.    Organizational Culture Related to Use of Force:

               21.1 The Department’s policies should provide that the Department will not
       transfer or assign a staff member to Custody as a formal or informal sanction for problem
       deputies.




                                               15
Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 51 of 56 Page ID
                                 #:3380




                   EXHIBIT C
     Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 52 of 56 Page ID
                                      #:3381



 1       NOTICE OF PROPOSED CLASS ACTION SETTLEMENT OF CASE ALLEGING
         PATTERN OF VIOLENCE AGAINST INMATES BY SHERIFF’S PERSONNEL IN
 2      MEN’S CENTRAL JAIL, TWIN TOWERS CORRECTIONAL FACILITY AND INMATE
 3                               RECEPTION CENTER

 4            This notice is about a proposed settlement of a class action lawsuit against the
       Los Angeles County Sheriff (“the Sheriff” or “Defendant”) involving alleged violations of
 5     the Eighth and Fourteenth Amendments to the United States Constitution.
 6
                                        ABOUT THE LAWSUIT:
 7
              In 2012, two inmates who were housed in the Los Angeles County jail facilities in
 8
       downtown Los Angeles filed this lawsuit against the Los Angeles County Sheriff under
 9     the United States Constitution alleging that inmates in Men’s Central Jail, Twin Towers
       Correctional Facility, and the Inmate Reception Center (“the Downtown Jail Complex”)
10     were being subjected to a pattern of unnecessary and excessive force by Los Angeles
       Sheriff’s Department (“the Department”) personnel, and that the Sheriff was aware of
11
       the problem and had not taken reasonable steps to prevent the excessive force.
12     Specifically, they alleged, among other things, that the Sheriff had not put in place an
       adequate use of force policy, training on use of force was inadequate, investigations of
13     use of force incidents were cursory, use of force incidents were not adequately
14     documented and tracked, and discipline for Department personnel who used excessive
       force and supervisors who condoned it was non-existent or overly lenient. The Sheriff
15     denies any and all allegations of wrongdoing. The parties have reached a settlement
       and this notice provides details of that settlement.
16
17                                          THE PARTIES:

18            Current or former inmates Alex Rosas and Jonathan Goodwin (“Plaintiffs”)
       represent a class of inmates certified by the Court, which is defined as “all inmates, now
19     and in the future, in the custody of the Los Angeles County Sheriff’s Department in the
20     Jail Complex in downtown Los Angeles” (“the Plaintiff Class”). The Defendant in the
       case is Sheriff Jim McDonnell, in his official capacity only. If you are a present or future
21     inmate in Men’s Central Jail, Twin Towers Correctional Facility, or the Inmate Reception
       Center, you are a member of the Plaintiff Class in this case.
22
23                                   ABOUT THE SETTLEMENT:

24         The following is only a summary of the provisions of the settlement. The written
       agreement between the parties has the full terms of the proposed settlement that was
25
       preliminarily approved by the Court. There are instructions below if you want more
26     information about this settlement.

27        The settlement is for injunctive relief only, which means that the parties are seeking
       a Court order requiring the LASD to remedy the alleged pattern of excessive force at the
28
       Downtown Jail Complex. This lawsuit has never included a claim for money damages,
       and the settlement does not involve money damages. This means that the settlement

                                                    1
     Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 53 of 56 Page ID
                                      #:3382



 1     does not entitle you or any member of the Plaintiff Class to a cash payment. It also
       means that the settlement does not in any way limit you from bringing a claim for
 2     damages, if you have such a claim apart from this settlement.
 3
          Appointment of Expert Panel and Creation of, and Monitoring of Compliance
 4        with, Remedial Plan
 5         The settlement provides that the Court will appoint three experts, Richard Drooyan,
 6     former Chief Counsel of the Citizens’ Commission on Jail Violence, Robert Houston,
       former Director of the Nebraska Department of Corrections, and Jeffrey Schwartz, an
 7     independent corrections consultant (“the Expert Panel”), to develop a plan to address
       and remedy the alleged pattern of excessive force (“the Remedial Plan”). Defendant
 8
       agrees to implement all the provisions in the Remedial Plan within various time frames
 9     after final approval by the Court. The settlement also provides that the Expert Panel will
       monitor the Department’s implementation of, and continued compliance with, the terms
10     of the Remedial Plan and make periodic reports to the Court on its findings.
11
          The Contents of the Remedial Plan
12
           The Remedial Plan addresses 21 major areas: (1) Leadership, Administration and
13     Management; (2) Use of Force Policies and Practices; (3) Training and Professional
14     Development Related to Use of Force; (4) Use of Force on Mentally Ill Prisoners and
       Other Special Needs Populations; (5) Data Tracking and Reporting of Force Incidents;
15     (6) Inmate Grievances and Other Complaints of Excessive Force; (7) Inmate
       Supervision, Staff Inmate Relations, and Communication with Prisoners; (8) Retaliation
16     Against Inmates; (9) Security Practices; (10) Management Presence in Housing Units;
17     (11) Management Review of Force Incidents and Data; (12) Reviews and Investigations
       of Use of Force Incidents; (13) Disposition of Use of Force Reviews and Staff Discipline
18     Issues; (14) Criminal Referrals and External Reviews of Use of Force Incidents;
       (15) Documentation and Recording of Force Incidents; (16) Health Care Assessments
19     and Documentation Following Force Incidents; (17) Use of Restraints; (18) Adequate
20     Staffing and Staff Rotations; (19) Early Warning System Related to Use of Force;
       (20) Protocols for Planned Uses of Force; (21) Organizational Culture Related to Use of
21     Force.
22        The Remedial Plan contains more than 100 specific provisions that the Department
23     must implement. A number of the provisions of the Plan are set forth below in summary
       fashion.
24
          •   The Sheriff should be personally engaged in the management of the Downtown
25
              Jail Complex by the Department’s jail facilities, and the Sheriff should regularly
26            and adequately monitor the Department’s use of force policies and practices;
          •   The Department will revise and re-organize its use of force policies for Custody
27            Operations and add policies including ones restricting the use of chemical agents
28            and kicking inmates, and requiring that inmates’ medical records be checked
              whenever possible before using Tasers or chemical agents;


                                                   2
     Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 54 of 56 Page ID
                                      #:3383



 1       •   Deputies assigned to the Downtown Jail Complex must receive, among other
             training, a one-time, eight-hour use of force policy training course and a yearly
 2
             two-hour refresher course; a one-time, four-hour course in ethics,
 3           professionalism and treating inmates with respect and a two-hour refresher
             course every other year;
 4       •   The use of force manual shall include, and the Department shall abide by, a
             requirement that a mental health professional be present whenever there is a
 5
             planned cell extraction of an inmate with mental illness, and all custody
 6           personnel receive custody specific, scenario based, skill development training on
             identifying and working with mentally ill inmates;
 7       •   The Department will track the status of all investigations, reviews and evaluations
 8           of all Custody use of force incidents and allegations of force to ensure that
             investigations, reviews, and evaluations are completed appropriately and timely;
 9       •   The Department must ensure that grievance/complaint forms are reasonably
             available to all inmates at all times, all grievances/complaints are properly
10           tracked in a database, and that the Custody Division Manual includes a provision
11           that failure to provide a grievance form, destroying a grievance form and
             retaliating against an inmate for filing a grievance form may be a cause for
12           discipline;
         •   The Department’s policies must prohibit personnel from retaliating against
13
             inmates;
14       •   The Department’s policies must provide that following a use of force incident,
             involved staff may not escort an inmate to medical, or segregation unless no
15           other Department personnel is reasonably available;
16       •   Department personnel with a rank of Unit Commander or above must periodically
             tour the jail facilities;
17       •   All custody Sergeants should receive an initial 16-hour block of training in
             conducting use of force investigations, reviewing use of force reports, and the
18
             Department’s new protocols for conducting such investigations, and a two-hour
19           refresher course every year;
         •   The Department must have a firm policy of zero tolerance for acts of dishonesty
20           or failure to report uses of force. If the Department does not terminate a member
21           who is found to have been dishonest or used excessive force, the Department
             must document the reasons why the member was not terminated;
22       •   The Department must arrange for a documented medical assessment of each
             inmate upon whom force is used as soon as practical after the force incident;
23       •   The Department must reorganize its policies on the use of restraints in the jails
24           and add safeguards to ensure that they are used only in appropriate
             circumstances and in a way that minimizes risk of injury or medical distress;
25       •   The Department must maintain its Custody-wide rotation policies and rotate
             Department personnel at least as often as provided in those policies;
26
         •   The Department must develop and maintain a formal Early Warning System to
27           identify potentially problematic LASD personnel based upon objective criteria
             such as number of force incidents, inmate grievances, allegations of misconduct,
28           performance reviews, and policy violations; and


                                                  3
     Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 55 of 56 Page ID
                                      #:3384



 1        •   The Department will not transfer or assign a staff member to Custody as a formal
              or informal sanction for problem deputies.
 2
 3
                                   IF YOU WANT MORE DETAILS:
 4
               There is a group of lawyers, Rosas Plaintiffs’ Class Counsel, representing
 5
       Plaintiffs and the class in this case. You can get a list of these lawyers, a copy of the
 6     settlement agreement, and a copy of the experts’ remedial plan from the following
       websites: www.aclusocal.org/rosas; www.aclu.org/[to be added] and www.lasd.org.
 7
            For their work in this case, Defendant has agreed to pay Rosas Plaintiffs’ Class
 8
       Counsel $950,000 in attorney’s fees, subject to approval by the Court.
 9
       To ask questions about the settlement of this case you can:
10
11            (1) Send a letter to Rosas Plaintiffs’ Class Counsel, c/o ACLU of Southern
              California, 1313 West 8th Street, Los Angeles, CA 90017.
12
              (2) Send an email to rosaslawsuit@aclusocal.org.
13
14
                         IF YOU DO NOT OBJECT TO THIS SETTLEMENT:
15
              You do not have to do anything.
16
17
                              IF YOU OBJECT TO THIS SETTLEMENT:
18
              You must mail a statement explaining why you object to the settlement. The
19     deadline is ______, 2015. Please be sure to include your name, address (if available),
20     telephone number (if available), your signature, a reference to this settlement or the
       case (Rosas v. McDonnell), the portions of the settlement to which you object, and the
21     reasons you object. Mail your objection to:
22
              Rosas Plaintiffs’ Class Counsel
23            c/o ACLU of So. Cal
              1313 W. 8th Street
24            Los Angeles, CA 90017
25
               Rosas Plaintiffs’ Class Counsel will provide your objection to the federal judge
26     assigned to this matter, the Honorable Dean D. Pregerson, and to Defendant’s Counsel.
       You must mail your objection by the above deadline; you cannot object to this
27     settlement after the deadline has passed. Even if you object, you do not have the ability
28     to “opt out” of this settlement if the Court approves it.



                                                    4
     Case 2:12-cv-00428-DDP-MRW Document 130-1 Filed 03/23/15 Page 56 of 56 Page ID
                                      #:3385



 1             HEARING REGARDING FINAL APPROVAL OF THIS SETTLEMENT:
 2            The Court will also hold a hearing about this settlement on _______. The
 3     hearing date could change. Please check any of the websites listed above close to the
       date of the hearing for information about any possible change in the hearing date.
 4
              The Court gets to decide whether to allow members of the Plaintiff Class who
 5     timely served objections to this settlement to speak at the hearing.
 6
             The address for the court is:
 7
                    U.S. Federal District Court, Courtroom 3
 8
                    312 North Spring Street,
 9                  Los Angeles, CA 90012

10           You can get more details about the hearing from the places listed above.
11
12
13     Para recibir una copia en español, puede solicitar una copia por medio de los miembros
14     de LASD o puede ir a los sitios web enumerados anteriormente.

15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                  5
